                             Case 23-910, Document 52, 08/08/2023, 3553512, Page1 of 31
                                    UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                                                              Square, New York, NY 10007 Telephone: 212.857-8500
                   Thurgood Marshall U.S. Courthouse 40 Foley Squalls,                              212-857-8500

                                                      MOTION INFORMATION STATEMENT

                  23-910
Docket Number(s): ________________________________________                                      Caption [use atxrt
                                                                                 _______________Caption      short tidal
                                                                                                                   title]_____________________

motion
Motion foil Emergency Motion for a Stay
       for: ______________________________________________

Pending Mandamus and an Administrative Stay
________________________________________________________

________________________________________________________

Set forth below precise, complete statement of relief sought:

Petitioner moves for a stay of the JPML's
________________________________________________________
                                                                                 In re Google LLC
remand order pending this Court's resolution of
________________________________________________________
Petitioner's mandamus petition and an immediate
________________________________________________________

administrative stay to address this motion.
________________________________________________________

________________________________________________________

________________________________________________________
              Google LLC
       PARTY:_______________________________________
MOVING PARTY:                                        OPPOSING PARTY:
                                                                     Texas, ,Idaho,
                                                                     TOM.              Ogra. W.Va,
                                                                                    Indiana,
                                                                              60,01 ,,       Louisiana, woodeetpi,
                                                                                                        Mississippi, moth
                                                              PARTY:____________________________________________
                                                                                                                     North DOM,    South Gsvo
                                                                                                                           Dakota, Safi         6, soar,
                                                                                                                                         Carolina,       wag
                                                                                                                                                   South Dakota




             Plaintiff
          ___Plaintiff                  ___Defendant
                                           Defendant

          ✔ Appellant/Petitioner
          ✓
          ___Appellant/Petitioner      ___Appellee/Respondent
                                          Appellee/Respondent

MOVING ATTORNEY:     Neal Kumar Katyal
         ATTORNEY:___________________________________          OPPOSING ATTORNEY:          Lanora Christine Pettit
                                                                                           Lenora
                                                                             ATTORNEY:________________________________________
                              [name of attorney, with firm, address, *me
                                                                     phone number and e-maill
                                                                                      e-mail]
Hogan Lovells
       Lavelle US LLP
________________________________________________________        Office of the Solicitor General
                                                                _______________________________________________________________
555 Thirteenth Street, N.W. Washington, DC 20004
________________________________________________________ P.O. Box 12548 (MC-059) Austin, TX 78711-2548
                                                         _______________________________________________________________
                                                         (512)4632127;
                                                         (512) 4632127; lanora.pettit@oag.texas.gov
(202) 637-5600; neal.katyal@hoganlovells.com _______________________________________________________________
________________________________________________________
                                    Karen K. Caldwell, Judicial Panel on Multidistrict Litigation
Court- Judge/ Agency appealed from: _________________________________________________________________________________________

Please check appropriate boxes:                                                FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                               INJUCTIONS PENDING APPEAL:
                                                                               INJ1JCTIONS
Has =sant  notified opposing c.otmsel
    movant nosed             counsel (required by Local Rule 27.1):             Has this request for relief been made below?                        ✔
                                                                                                                                                   ___Yes    ___No
         ✔ Yea ___No
         6/
        ___Yes            (explain):__________________________
                      No (explain):                                                                     previously sought in this court?
                                                                                Has this relief been previDualy                                    ___Yes
                                                                                                                                                   nYes ___No v✔ ['No
        _______________________________________________                                                        explanation
                                                                                Requested return date and explai                                   August 9
                                                                                                                          n of emergency: ________________
                                                                                                                                                   August     by 5pn
                                                                                                                                                            9 by 5pm
                                                                                 If this Omit
                                                                                         Court doom
                                                                                               does not grant to
                                                                                                               the motian.         PIAL's stay wi
                                                                                                                             fxe JJPML's
                                                                                                                   motion, the
                                                                                _____________________________________________________________  will eeq*o
                                                                                                                                                    expire and the case
         counsel’s
Opposing co        position on motion,
               1's position     motion:                                          will be transferred   the Eastern District
                                                                                         tanelerred to he          DietrIct of
                                                                                                                            c4 Tome
                                                                                                                               Texas, poteelally
                                                                                                                                      potentially larecicehg
                                                                                                                                                  foreclosing the Court's
                                                                                _____________________________________________________________
        [___Unopposed     ✔ Opposed ___Don’t
            lUnopposed ___Opposed
                          */                      Know
                                            Don't Knaw                          aability
                                                                                   tally to deckle
                                                                                            decide Petitioner's
                                                                                                     Patitimer's Mandamus Petition.
                                                                                _____________________________________________________________
              counsel intend rto_file
Does opposing mime'           to file a response:
                                                                               _____________________________________________________________
          ✔ Yea ___No
         ___Yes
         */             No j___Don’t      Know
                                  Don't Knave


Is oral argument on motion requested?            n___Yes  ✔ (requests for oral argument will not =meanly
                                                     Yes ___No
                                                         VNo(reqwats                             necessarily be granted)

Hag argument date of appeal been set?
Has argliment                                            V✔ II}lo If yea,
                                                 ___ Yes ___No       yes, enter date:
                                                                                date:_______________________________________________________

Signature of Moving Attorney:
Sigiudwe
/s/
/SI Neal Kumar Katyal
_________________________________ Date: August 8, 2023 service
                                  Date:__________________              ✔ CM/ECF ___Other
                                                          Service by: ___CM/ECF    Other [isttstehproof
                                                                                         [Attach proof of service]




Form T-1080 (rev.12-13)
          Case 23-910, Document 52, 08/08/2023, 3553512, Page2 of 31




             IN THE
             IN THE UNITED
                    UNITED STATES
                           STATES COURT OF APPEALS
                                  COURT OF APPEALS
                     FOR THE
                     FOR THE SECOND CIRCUIT
                             SECOND CIRCUIT



In re
In re Google
      Google LLC,
             LLC,
                                                 No. 23-910
                                                 No. 23-910
      Petitioner
      Petitioner




    EMERGENCY
    EMERGENCY MOTION
              MOTION FOR A STAY
                     FOR A STAY PENDING
                                PENDING MANDAMUS
                                        MANDAMUS
             AND AN
             AND AN ADMINISTRATIVE
                    ADMINISTRATIVE STAY
                                   STAY




Eric Mahr
Eric Mahr                               Neal Kumar
                                        Neal  Kumar Katyal
                                                      Katyal
Andrew J.
Andrew   J. Ewalt
            Ewalt                       Jessica L. Ellsworth
                                        Jessica L.  Ellsworth
FRESHFIELDS BRUCKHAUS
FRESHFIELDS       BRUCKHAUS             Jo-Ann
                                        Jo-Ann Tamila
                                                 Tamila Sagar
                                                         Sagar
DERINGER LLP
DERINGER      LLP                       William E.
                                        William      Havemann
                                                  E. Havemann
700  Thirteenth Street
700 Thirteenth         NW, 10th
                Street NW, 10th Floor
                                Floor   HOGAN LOVELLS
                                        HOGAN      LOVELLS US  US LLP
                                                                   LLP
Washington, D.C.
Washington,        20005
              D.C. 20005                555  Thirteenth Street,
                                        555 Thirteenth           N.W.
                                                         Street, N.W.
(202) 777-4500
(202) 777-4500                          Washington, D.C.
                                        Washington,    D.C. 20004
                                                            20004
(202) 777-4555
(202)            (Fax)
      777-4555 (Fax)                    (202) 637-5600
                                        (202)  637-5600
eric.mahr@freshfields.com
eric.mahr@freshfields.corn              (202) 637-5910
                                        (202)  637-5910 (Fax)
                                                          (Fax)
andrew.ewalt@freshfields.com
andrew.ewalt@freshfields.corn           neal.katyal@hoganlovells.com
                                        neal.katyal@hoganlovells.corn
                                        jessica.ellsworth@hoganlovells.com
                                        jessica.ellsworth@hoganlovells.corn

                           Counsel for Google
                           Counselfor         LLC
                                       Google LLC
                Case 23-910, Document 52, 08/08/2023, 3553512, Page3 of 31




                                         TABLE OF CONTENTS
                                         TABLE OF CONTENTS

                                                                                                                       Page
                                                                                                                       Page

TABLE
TABLE OF AUTHORITIES ....................................................................................iv
      OF AUTHORITIES                                                                                     iv

INTRODUCTION
INTRODUCTION ..................................................................................................... 1
                                                                                                                   1

BACKGROUND
BACKGROUND ....................................................................................................... 3
                                                                                                                   3

LEGAL
LEGAL STANDARD
      STANDARD ................................................................................................ 5
                                                                                                                5

ARGUMENT ............................................................................................................. 6
ARGUMENT                                                                                                               6

    I.
    I.     THIS COURT
           THIS COURT SHOULD
                      SHOULD GRANT
                             GRANT AA STAY
                                      STAY OF
                                           OF THE
                                              THE JPML’S
                                                  JPML'S
           REMAND ORDER
           REMAND  ORDER PENDING  THIS COURT’S
                          PENDING THIS COURT'S
           RESOLUTION  OF GOOGLE’S
           RESOLUTION OF           MANDAMUS PETITION
                          GOOGLE'S MANDAMUS   PETITION ...................... 6
                                                                              6

         A.
         A.       There Is A
                  There Is A Substantial
                             Substantial Possibility That This
                                         Possibility That   This Court
                                                                    Court WillWill
                  Grant
                  Grant Google’s Mandamus Petition
                        Google's Mandamus    Petition ...................................................... 7
                                                                                                             7

               1.
               1.      The JPML Misinterpreted
                       The JPML    Misinterpreted The        The Venue
                                                                    Venue Act Act As As A A Matter
                                                                                             Matter
                       Of Law .............................................................................................. 77
                       Of Law

                2.
                2.    The JPML Failed
                      The JPML  Failed To  Apply Any
                                        To Apply Any Substantive
                                                     Substantive Legal Legal
                      Standard To
                      Standard    Its Remand
                               To Its Remand Decision
                                              Decision ................................................. 11
                                                                                                         11

                3.
                3.    Google  Has No
                      Google Has  No Other      Adequate Means
                                      Other Adequate            Means To         Attain
                                                                            To Attain
                      Relief And
                      Relief And Mandamus
                                 Mandamus Is    Is Appropriate
                                                    Appropriate Under    Under The  The
                      Circumstances
                      Circumstances ................................................................................ 15
                                                                                                                     15

         B.
         B.       Google Will Suffer
                  Google Will Suffer Irreparable Injury Absent
                                     Irreparable Injury Absent A
                                                               A Stay
                                                                 Stay ........................16
                                                                                              16

               1.
               1.     Absent A
                      Absent A Stay,
                               Stay, The    Remand Order
                                     The Remand           Order Threatens
                                                                     Threatens To          Strip
                                                                                      To Strip
                      Google
                      Google Of Its Right
                             Of Its Right To      Seek Reversal
                                             To Seek       Reversal By    By Writ
                                                                                Writ OfOf
                      Mandamus ......................................................................................16
                      Mandamus                                                                                       16

                2.
                2.    A Stay
                      A Stay Is
                             Is Necessary
                                Necessary To  Prevent Irreparably
                                           To Prevent Irreparably
                      Curtailing
                      Curtailing The Efficiencies And
                                 The Efficiencies And Benefits
                                                      Benefits Of
                                                               Of The MDL .................18
                                                                  The MDL                  18

         C.
         C.       The State Plaintiffs
                  The State    Plaintiffs WillWill Not Not Suffer        Injury If
                                                              Suffer Injury         If A
                                                                                       A Stay
                                                                                           Stay Is Is
                  Issued ...................................................................................................19
                  Issued                                                                                                    19

         D.
         D.       The
                  The Public Interest Favors
                      Public Interest Favors A
                                             A Stay
                                               Stay ......................................................20
                                                                                                          20
                Case 23-910, Document 52, 08/08/2023, 3553512, Page4 of 31

                             TABLE
                             TABLE OF
                                   OF CONTENTS—Continued
                                      CONTENTS—Continued
                                                                                                              Page
                                                                                                              Page


    II.
    II.    THIS
           THIS COURT
                COURT SHOULD
                      SHOULD GRANT  AN IMMEDIATE
                              GRANT AN IMMEDIATE
           ADMINISTRATIVE STAY
           ADMINISTRATIVE  STAY PENDING THIS COURT'S
                                PENDING THIS COURT’S
           RESOLUTION OF
           RESOLUTION  OF GOOGLE’S
                          GOOGLE'S STAY
                                   STAY MOTION
                                        MOTION ....................................20
                                                                                   20

CONCLUSION
CONCLUSION ........................................................................................................21
                                                                                                                   21

CERTIFICATE OF
CERTIFICATE OF COMPLIANCE
               COMPLIANCE

CERTIFICATE
CERTIFICATE OF
            OF SERVICE
               SERVICE




                                                         iii
                                                         iii
                Case 23-910, Document 52, 08/08/2023, 3553512, Page5 of 31




                                      TABLE OF AUTHORITIES
                                      TABLE OF AUTHORITIES

                                                                                                             Page(s)
                                                                                                             Page(s)
CASES:
CASES:

Bragg v.
Bragg    Pomerantz,
      v. Pomerantz,
 No. 23-615-L,
 No. 23-615-L, 2023
               2023 WL
                    WL 3015207
                       3015207 (2d
                               (2d Cir.
                                   Cir. Apr.
                                        Apr. 19,
                                             19, 2023)
                                                 2023) ................................. 21
                                                                                         21

Cheney
Cheney v.
       v. U.S. Dist. Ct.,
          U.S. Dist. Ct.,
 542 U.S. 367
 542 U.S. 367 (2004)
               (2004) ............................................................................................... 77

Citigroup
Citigroup Glob. Mkts., Inc.
          Glob. Mkts., Inc. v.
                            v. VCG      Special Opportunities
                                VCG Special          Opportunities Master   Master
 Fund Ltd.,
 Fund  Ltd.,
 598  F.3d 30
 598 F.3d  30 (2d
              (2d Cir.
                  Cir. 2010)
                       2010) ..................................................................................... 77

Cooter & Gell
Cooter & Gell v. Hartmarx Corp.,
              v. Hartmarx      Corp.,
 496 U.S.
 496 U.S. 384
          384 (1990)
               (1990) ............................................................................................... 4
                                                                                                                      4

Drabik v.
Drabik    Murphy,
       v. Murphy,
 246 F.2d
 246 F.2d 408
           408 (2d
               (2d Cir. 1957) ................................................................................. 16
                   Cir. 1957)                                                                                   16

Ex parte
Ex parte Collett,
         Collett,
 337 U.S.
 337  U.S. 55 (1949) ......................................................................................... 13,
           55 (1949)                                                                                           13, 14
                                                                                                                   14

Hamdan v.
Hamdan     Rumsfeld,
        v. Rumsfeld,
 548 U.S. 557
 548 U.S.      (2006) ............................................................................................... 99
           557 (2006)

Hassoun v.
Hassoun    Searls,
        v. Searls,
 976 F.3d 121
 976 F.3d  121 (2d
               (2d Cir. 2020) ................................................................................. 21
                   Cir. 2020)                                                                                   21

Hirschfield v.
Hirschfield    Board of
            v. Board of Elections,
                         Elections,
 984  F.2d 35
 984 F.2d  35 (2d
               (2d Cir.
                   Cir. 1993)
                        1993) ..................................................................................... 77

In re
In    Activated Carbon-Based
   re Activated               Hunting Clothing
                Carbon-Based Hunting  Clothing Mktg. Mktg. &    & Sales
                                                                    Sales Pracs.
                                                                             Pracs.
  Litig.,
  Litig.,
  840 F.
  840  F. Supp. 2d 1193
          Supp. 2d 1193 (D.
                        (D. Minn. 2012) ................................................................ 11
                            Minn. 2012)                                                                  11

In re
In    Adelphia Commc’ns
   re Adelphia Commc'ns Corp.,
                          Corp.,
  361 B.R.
  361  B.R. 337
            337 (S.D.N.Y.
                (S.D.N.Y. 2007)
                          2007) ............................................................................. 18
                                                                                                              18

In re
In re Gorsoan Ltd.,
      Gorsoan Ltd.,
  No. 18-MC-431
  No. 18-MC-431 (RA)
                  (RA) (KNF),
                        (KNF), 20202020 WL  WL 4194822
                                                   4194822
  (S.D.N.Y. July
  (S.D.N.Y. July 21,
                 21, 2020)
                     2020) ..................................................................................... 20
                                                                                                                 20


                                                          iv
                                                          iv
                Case 23-910, Document 52, 08/08/2023, 3553512, Page6 of 31

                            TABLE
                            TABLE OF AUTHORITIES—Continued
                                  OF AUTHORITIES—Continued
                                                                                                              Page(s)
                                                                                                              Page(s)
In re
In    Patenaude,
   re Patenaude,
  210 F.3d
  210  F.3d 135
            135 (3d
                (3d Cir. 2000) ................................................................................. 11
                    Cir. 2000)                                                                                   11

In re
In re Warrick,
       Warrick,
  70  F.3d 736
  70 F.3d       (2d Cir.
           736 (2d  Cir. 1995)
                         1995) ............................................................................. 15,
                                                                                                             15, 16
                                                                                                                 16

In re
In re World
      World Trade
            Trade Ctr. Disaster Site
                  Ctr. Disaster   Site Litig.,
                                         Litig.,
  503 F.3d 167
  503 F.3d 167 (2d
               (2d Cir. 2007) ................................................................................... 66
                   Cir. 2007)

In re:
In     Digital Advert.
   re: Digital Advert. Antitrust
                       Antitrust Litig.,
                                 Litig.,
  555  F. Supp.
  555 F.        3d 1372
          Supp. 3d 1372 (J.P.M.L.
                        (J.P.M.L. 2021)
                                    2021) ........................................... 3,
                                                                                      3, 12,
                                                                                         12, 18,
                                                                                             18, 19,
                                                                                                 19, 20
                                                                                                     20

Jock v.
Jock    Sterling Jewelers,
     v. Sterling Jewelers, Inc.,
                           Inc.,
  738 F. Supp.
  738 F.        2d 445
         Supp. 2d  445 (S.D.N.Y.
                       (S.D.N.Y. 2010)
                                 2010).................................................................. 18
                                                                                                         18

Johnson as
Johnson as Tr. of Johnson
           Tr. of Johnson Fam.
                          Fam. Tr.,
                               Tr., Templeton
                                    Templeton Glob.   Income Fund
                                                Glob. Income     Fund v.   v.
  Saba Cap.
  Saba      Mgmt., L.P.,
       Cap. Mgmt.,  L.P.,
  No. 23-134,
  No. 23-134, 2023
              2023 WL
                    WL 3196206
                        3196206 (2d
                                (2d Cir.  Feb. 14,
                                     Cir. Feb. 14, 2023)
                                                   2023) ..................................... 21
                                                                                               21

Landgraf v.
Landgraf v. USI Film Prods.,
            USI Film Prods.,
 511 U.S. 244
 511 U.S. 244 (1994)
              (1994) ........................................................................... 4,
                                                                                                 4, 7,
                                                                                                    7, 8, 10, 11
                                                                                                       8, 10, 11

Landis v.
Landis    North Am.
       v. North  Am. Co.,
                     Co.,
 299 U.S.
 299 U.S. 248
           248 (1936)
                (1936) ............................................................................................... 66

Linde v.
Linde    Arab Bank,
      v. Arab Bank, PLC,
                    PLC,
  706 F.3d 92
  706 F.3d    (2d Cir.
           92 (2d Cir. 2013)
                       2013) ..................................................................................... 77

Martin v.
Martin    Hadix,
       v. Hadix,
 527 U.S. 343
 527 U.S.  343 (1999)
               (1999) ......................................................................................... 9,
                                                                                                                9, 10
                                                                                                                   10

Nken v.
Nken    Holder,
     v. Holder,
 556 U.S. 418
 556 U.S. 418 (2009)
               (2009) ............................................................................................... 66

Rivers v.
Rivers    Roadway Express,
       v. Roadway Express, Inc.,Inc.,
 511  U.S. 298
 511 U.S.  298 (1994)
               (1994) ............................................................................................... 88

Roofing &
Roofing & Sheet
           Sheet Metal
                 Metal Servs.,
                       Servs., Inc.
                               Inc. v.  La Quinta
                                     v. La    Quinta MotorMotor Inns,Inns, Inc.,
                                                                              Inc.,
 689  F.2d 982
 689 F.2d      (11th Cir.
           982 (11th Cir. 1982)
                          1982).............................................................................. 17
                                                                                                              17

Thapa
Thapa v.
      v. Gonzales,
         Gonzales,
 460 F.3d
 460 F.3d 323
          323 (2d
              (2d Cir.  2006) ................................................................................... 66
                   Cir. 2006)



                                                           v
                                                           v
                Case 23-910, Document 52, 08/08/2023, 3553512, Page7 of 31

                            TABLE
                            TABLE OF AUTHORITIES—Continued
                                  OF AUTHORITIES—Continued
                                                                                                               Page(s)
                                                                                                               Page(s)
United States v.
United States    National City
              v. National           Lines, Inc.,
                            City Lines,        Inc.,
 334 U.S.
 334 U.S. 573   (1948) ............................................................................................. 14
           573 (1948)                                                                                                14

United States v.
United States    National City
              v. National           Lines, Inc.,
                            City Lines,        Inc.,
 337 U.S.
 337 U.S. 78  (1949) ......................................................................................... 13,
           78 (1949)                                                                                           13, 14
                                                                                                                   14

Vernon
Vernon v.
       v. Cassadaga
          Cassadaga Valley
                       Valley Cent.    Sch. Dist.,
                              Cent. Sch.       Dist.,
 49 F.3d
 49 F.3d 886  (2d Cir.
          886 (2d Cir. 1995)
                       1995) ................................................................................... 10
                                                                                                                 10

STATUTES:
STATUTES:

28 U.S.C.
28 U.S.C. §§ 1404
             1404 ..................................................................................................... 17
                                                                                                                        17

28 U.S.C.
28 U.S.C. §§ 1404(a)
             1404(a) .................................................................................... 10,
                                                                                                          10, 13,
                                                                                                              13, 14
                                                                                                                  14

28 U.S.C.
28 U.S.C. §§ 1407
             1407 ............................................................................................... 14,
                                                                                                                  14, 17
                                                                                                                      17

28 U.S.C.
28 U.S.C. §§ 1407(a)
             1407(a) .......................................................................................... 11,
                                                                                                                11, 13
                                                                                                                    13

28 U.S.C.
28 U.S.C. §§ 1407(e)
             1407(e) ...................................................................................... 4,
                                                                                                            4, 15,
                                                                                                               15, 16
                                                                                                                   16

28 U.S.C.
28 U.S.C. §§ 1407(g)
             1407(g) ............................................................................................ 9, 20
                                                                                                                  9, 20

Consolidated Appropriations
Consolidated Appropriations Act,
                            Act, 2023,
                                 2023,
 Pub.
 Pub. L. No. 117-328,
      L. No. 117-328, 136
                      136 Stat. 4459 ..................................................................... 4
                          Stat. 4459                                                                       4

R ULE:
RULE:

Fed. R.
Fed.    App. P.
     R. App.    21(b)(6) ......................................................................................... 19
             P. 21(b)(6)                                                                                           19




                                                           vi
                                                           vi
            Case 23-910, Document 52, 08/08/2023, 3553512, Page8 of 31




                                 INTRODUCTION
                                 INTRODUCTION

      Seven weeks ago,
      Seven weeks ago, Google
                       Google LLC (“Google”) filed
                              LLC ("Google") filed aa petition
                                                      petition for mandamus
                                                               for mandamus

seeking this
seeking this Court's
             Court’s review
                     review of
                            of aa Judicial
                                  Judicial Panel
                                           Panel on
                                                 on Multidistrict
                                                    Multidistrict Litigation (“JPML”)
                                                                  Litigation ("JPML")

order granting aa motion
order granting    motion to
                         to remand
                            remand filed by the
                                   filed by the State
                                                State Plaintiffs. See In
                                                      Plaintiffs. See In re
                                                                         re Google
                                                                            Google

Dig. Advert.
Dig. Advert. Antitrust
             Antitrust Litig.,
                       Litig., No.
                               No. 3010
                                   3010 (J.P.M.L.
                                        (J.P.M.L. June 5, 2023),
                                                  June 5, 2023), ECF No. 250
                                                                 ECF No. 250

(“Remand Order”).
("Remand Order"). The
                  The JPML’s
                      JPML's order rests on
                             order rests    the conclusion
                                         on the            that aa new
                                                conclusion that    new statutory
                                                                       statutory

amendment
amendment applies retroactively to
          applies retroactively to undo
                                   undo transfers
                                        transfers of
                                                  of antitrust actions brought
                                                     antitrust actions brought by
                                                                               by

State Attorneys General,
State Attorneys          regardless of
                General, regardless of whether
                                       whether the
                                               the transfer
                                                   transfer was
                                                            was already
                                                                already completed
                                                                        completed

before the
before the amendment's
           amendment’s enactment. The Panel’s
                       enactment. The         incomplete analysis
                                      Panel's incomplete analysis of
                                                                  of retroactivity
                                                                     retroactivity

threatens to
threatens to upend the significant
             upend the significant efficiencies that coordination
                                   efficiencies that              before the
                                                     coordination before the

multidistrict litigation
multidistrict litigation ("MDL")
                         (“MDL”) court has brought
                                 court has brought to
                                                   to this
                                                      this case. Although the
                                                           case. Although the JPML
                                                                              JPML

initially issued
initially issued an
                 an administrative
                    administrative stay
                                   stay of its ruling,
                                        of its         that administrative
                                               ruling, that                stay is
                                                            administrative stay is set
                                                                                   set to
                                                                                       to

expire
expire on
       on Thursday, August 10.
          Thursday, August 10. And
                               And the
                                   the JPML
                                       JPML has denied Google’s
                                            has denied Google's request
                                                                request for
                                                                        for aa

stay pending
stay pending this
             this Court's
                  Court’s resolution
                          resolution of
                                     of Google’s mandamus petition.
                                        Google's mandamus petition.

      If this Court
      If this       does not
              Court does     act to
                         not act to preserve
                                    preserve the
                                             the status
                                                 status quo
                                                        quo before
                                                            before the
                                                                   the JPML stay
                                                                       JPML stay

expires, this action
expires, this action will
                     will be
                          be transferred
                             transferred from the Southern
                                         from the          District of
                                                  Southern District    New York
                                                                    of New York to
                                                                                to the
                                                                                   the

Eastern District of
Eastern District of Texas.
                    Texas. Once that transfer
                           Once that transfer occurs, this Court’s
                                              occurs, this         precedent suggests
                                                           Court's precedent suggests

it may
it may lose
       lose the
            the ability
                ability to
                        to grant
                           grant aa writ
                                    writ of
                                         of mandamus
                                            mandamus reversing
                                                     reversing the
                                                               the JPML’s
                                                                   JPML's Remand
                                                                          Remand

Order. To mitigate
Order. To mitigate the
                   the procedural
                       procedural difficulties
                                  difficulties that
                                               that would
                                                    would result
                                                          result from breaking up
                                                                 from breaking up




                                           1
                                           1
            Case 23-910, Document 52, 08/08/2023, 3553512, Page9 of 31




this proceeding,
this proceeding, Google asks this
                 Google asks this Court to stay
                                  Court to stay the
                                                the JPML’s
                                                    JPML's Remand
                                                           Remand Order until it
                                                                  Order until it

has resolved
has resolved Google's
             Google’s mandamus
                      mandamus request.
                               request.

      The
      The JPML
          JPML denied
               denied aa stay
                         stay on
                              on the
                                 the purely
                                     purely legal
                                            legal ground
                                                  ground that
                                                         that there
                                                              there was
                                                                    was no
                                                                        no risk
                                                                           risk this
                                                                                this

Court would lose
Court would lose authority to order
                 authority to       the JPML
                              order the      to return
                                        JPML to return the
                                                       the case to the
                                                           case to the Southern
                                                                       Southern

District
District of New York
         of New York if
                     if Google ultimately prevails.
                        Google ultimately prevails. But
                                                    But State
                                                        State Plaintiffs have argued
                                                              Plaintiffs have argued

in this
in this Court
        Court that
              that the
                   the intervening
                       intervening legislation
                                   legislation "deprives
                                               “deprives the
                                                         the JPML
                                                             JPML of jurisdiction” over
                                                                  of jurisdiction" over

this case.
this case. ECF No. 32
           ECF No. 32 at
                      at 12 n.5 ("State
                         12 n.5 (“State Pls.
                                        Pls. Opp. to Mandamus”).
                                             Opp. to             If that
                                                     Mandamus"). If that argument
                                                                         argument

succeeds, it
succeeds, it could prevent this
             could prevent this Court
                                Court from
                                      from ordering the JPML
                                           ordering the      to grant
                                                        JPML to grant relief
                                                                      relief after
                                                                             after the
                                                                                   the

case is transferred.
case is transferred. A
                     A stay
                       stay is warranted to
                            is warranted to protect
                                            protect against
                                                    against the
                                                            the risk
                                                                risk that
                                                                     that Google will
                                                                          Google will

lose its appellate
lose its appellate rights
                   rights if
                          if this
                             this case is transferred
                                  case is transferred before
                                                      before this
                                                             this Court
                                                                  Court can
                                                                        can rule on
                                                                            rule on

Google’s mandamus petition.
Google's mandamus petition.

      Google satisfies the
      Google satisfies the requirements
                           requirements for the modest—and
                                        for the modest—and very
                                                           very short—stay
                                                                short—stay it
                                                                           it

seeks, which
seeks, which will
             will protect
                  protect Google's
                          Google’s path
                                   path to
                                        to relief
                                           relief and
                                                  and avoid
                                                      avoid irreparable harm in
                                                            irreparable harm in the
                                                                                the

form
form of
     of aa loss
           loss of appeal rights.
                of appeal rights. The mandamus petition
                                  The mandamus petition is
                                                        is ready
                                                           ready to
                                                                 to be
                                                                    be decided. And
                                                                       decided. And

preserving the
preserving the status
               status quo
                      quo of
                          of coordination through the
                             coordination through the MDL
                                                      MDL for
                                                          for aa little
                                                                 little longer
                                                                        longer will
                                                                               will

not harm
not harm any
         any of the parties,
             of the parties, who
                             who have
                                 have litigated this case
                                      litigated this      as part
                                                     case as part of the MDL
                                                                  of the MDL for
                                                                             for over
                                                                                 over

two years
two years and
          and who
              who continue to benefit
                  continue to benefit from coordinated discovery
                                      from coordinated discovery there.
                                                                 there.

      Google respectfully requests
      Google respectfully requests aa stay
                                      stay of the Remand
                                           of the Remand Order pending this
                                                         Order pending this Court's
                                                                            Court’s

resolution of
resolution of Google’s mandamus petition.
              Google's mandamus petition. In
                                          In addition,
                                             addition, Google
                                                       Google respectfully requests
                                                              respectfully requests

that this
that this Court
          Court grant
                grant an
                      an immediate
                         immediate administrative stay to
                                   administrative stay to give
                                                          give the
                                                               the Court time to
                                                                   Court time to



                                          22
           Case 23-910, Document 52, 08/08/2023, 3553512, Page10 of 31




address
address Google’s motion before
        Google's motion before the
                               the stay
                                   stay entered below expires
                                        entered below expires on August 10,
                                                              on August 10, 2023.
                                                                            2023.

Plaintiffs have indicated
Plaintiffs have           that they
                indicated that they oppose the requested
                                    oppose the requested stay.
                                                         stay.

                                 BACKGROUND
                                 BACKGROUND

      This Court
      This       is familiar
           Court is          with the
                    familiar with the background
                                      background and
                                                 and procedural
                                                     procedural history
                                                                history of this case,
                                                                        of this case,

which is
which is described
         described in
                   in detail
                      detail in
                             in Google’s mandamus petition.
                                Google's mandamus petition. See
                                                            See ECF
                                                                ECF No.
                                                                    No. 1-2
                                                                        1-2 at
                                                                            at 6-
                                                                               6-

13 ("Mandamus
13 (“Mandamus Petition”). As relevant
              Petition"). As          here, in
                             relevant here, in May
                                               May 2020,
                                                   2020, aa group
                                                            group of
                                                                  of advertisers
                                                                     advertisers

filed
filed aa putative
         putative class action in
                  class action in the
                                  the Northern
                                      Northern District
                                               District of
                                                        of California,
                                                           California, challenging
                                                                       challenging

Google’s
Google's ad tech business
         ad tech business under
                          under the
                                the Sherman Act. Many
                                    Sherman Act. Many other similar lawsuits
                                                      other similar lawsuits

followed, including aa suit
followed, including    suit brought
                            brought by
                                    by the
                                       the Texas Attorney General
                                           Texas Attorney General and nine other
                                                                  and nine other

State Attorneys General
State Attorneys         (“State Plaintiffs”)
                General ("State              in the
                                Plaintiffs") in the Eastern District of
                                                    Eastern District    Texas. The
                                                                     of Texas. The

JPML
JPML centralized these suits
     centralized these suits before
                             before Judge Castel in
                                    Judge Castel in the
                                                    the Southern
                                                        Southern District of New
                                                                 District of New

York for
York     pretrial purposes,
     for pretrial purposes, recognizing
                            recognizing the
                                        the efficiencies that would
                                            efficiencies that would be
                                                                    be achieved
                                                                       achieved by
                                                                                by

centralization. In re:
centralization. In     Digital Advert.
                   re: Digital Advert. Antitrust
                                       Antitrust Litig.,
                                                 Litig., 555 F. Supp.
                                                         555 F.       3d 1372,
                                                                Supp. 3d 1372, 1380
                                                                               1380

(J.P.M.L. 2021).
(J.P.M.L. 2021).

      Although pretrial
      Although pretrial litigation
                        litigation remains in progress
                                   remains in progress before
                                                       before Judge
                                                              Judge Castel, on June
                                                                    Castel, on June

5, 2023, the
5, 2023, the JPML granted State
             JPML granted State Plaintiffs’ motion to
                                Plaintiffs' motion to remand this action
                                                      remand this action to
                                                                         to the
                                                                            the

Eastern
Eastern District of Texas.
        District of Texas. See
                           See Remand
                               Remand Order.
                                      Order. The
                                             The State
                                                 State Plaintiffs’
                                                       Plaintiffs' remand motion
                                                                   remand motion

invoked aa statute
invoked    statute regarding
                   regarding MDL
                             MDL venue
                                 venue that
                                       that had
                                            had been
                                                been enacted well after
                                                     enacted well after State
                                                                        State

Plaintiffs’
Plaintiffs' case had been
            case had been transferred
                          transferred to
                                      to the
                                         the MDL
                                             MDL court. See In
                                                 court. See In re
                                                               re Google Dig. Advert.
                                                                  Google Dig. Advert.

Antitrust Litig.,
Antitrust Litig., No.
                  No. 3010
                      3010 (J.P.M.L.
                           (J.P.M.L. Feb.
                                     Feb. 27,
                                          27, 2023),
                                              2023), ECF No. 229
                                                     ECF No. 229 ("State
                                                                 (“State Pls.
                                                                         Pls.



                                          3
                                          3
            Case 23-910, Document 52, 08/08/2023, 3553512, Page11 of 31




Remand
Remand Motion”).
       Motion"). In
                 In aa consolidated
                       consolidated appropriations
                                    appropriations act,
                                                   act, Congress
                                                        Congress enacted the State
                                                                 enacted the State

Antitrust Enforcement
Antitrust             Venue Act
          Enforcement Venue Act ("Venue
                                (“Venue Act"),
                                        Act”), which
                                               which amends the MDL
                                                     amends the     statute to
                                                                MDL statute to

exclude state antitrust
exclude state           suits from
              antitrust suits from consolidation by the
                                   consolidation by the Panel. See Consolidated
                                                        Panel. See Consolidated

Appropriations Act,
Appropriations Act, 2023,
                    2023, Pub.
                          Pub. L. No. 117-328,
                               L. No.          Div. GG,
                                      117-328, Div.     Title III,
                                                    GG, Title III, §§ 301,
                                                                      301, 136
                                                                           136 Stat.
                                                                               Stat.

4459, 5970.
4459,       The State
      5970. The       Plaintiffs argued—and
                State Plaintiffs            the JPML
                                 argued—and the      agreed—that the
                                                JPML agreed—that the Venue
                                                                     Venue Act
                                                                           Act

applied retroactively even
applied retroactively      though the
                      even though the statute
                                      statute contained no retroactivity
                                              contained no retroactivity provision
                                                                         provision and
                                                                                   and

even though Congress
even though Congress had
                     had removed
                         removed retroactivity
                                 retroactivity provisions
                                               provisions from prior versions
                                                          from prior versions of
                                                                              of

the bill.
the bill.

       Google petitioned for
       Google petitioned     mandamus, which
                         for mandamus, which is
                                             is its
                                                its only means for
                                                    only means for obtaining review
                                                                   obtaining review

of
of aa JPML remand order.
      JPML remand        See 28
                  order. See 28 U.S.C.
                                U.S.C. §§ 1407(e).
                                          1407(e). Given the presumption
                                                   Given the presumption against
                                                                         against

retroactivity and
retroactivity and the
                  the framework
                      framework for
                                for assessing
                                    assessing retroactivity set out
                                              retroactivity set     in Landgraf
                                                                out in Landgraf v.
                                                                                v. USI
                                                                                   USI

Film Prods.,
Film Prods., 511 U.S. 244
             511 U.S. 244 (1994),
                          (1994), Google’s petition explains
                                  Google's petition          that the
                                                    explains that the JPML’s
                                                                      JPML's

retroactive application
retroactive application of
                        of the
                           the Venue
                               Venue Act
                                     Act was
                                         was aa clear
                                                clear abuse
                                                      abuse of discretion based
                                                            of discretion based on “an
                                                                                on "an

erroneous view of
erroneous view    the law."
               of the law.” Mandamus
                            Mandamus Petition 1 (quoting
                                     Petition 1 (quoting Cooter & Gell
                                                         Cooter & Gell v.
                                                                       v.

Hartmarx Corp.,
Hartmarx        496 U.S.
         Corp., 496 U.S. 384,
                         384, 405
                              405 (1990)).
                                  (1990)). This
                                           This Court
                                                Court ordered the State
                                                      ordered the State Plaintiffs
                                                                        Plaintiffs

to respond
to respond to
           to Google’s petition, ECF
              Google's petition,     No. 30,
                                 ECF No. 30, and
                                             and the
                                                 the State
                                                     State Plaintiffs
                                                           Plaintiffs filed their
                                                                      filed their

opposition to mandamus
opposition to mandamus on
                       on July 17, ECF
                          July 17,     No. 32.
                                   ECF No. 32. Both
                                               Both parties
                                                    parties have
                                                            have filed Oral
                                                                 filed Oral




                                          4
                                          4
           Case 23-910, Document 52, 08/08/2023, 3553512, Page12 of 31




Argument Statements.
Argument Statements. ECF Nos. 33,
                     ECF Nos. 33, 46.
                                  46. A
                                      A panel
                                        panel of this Court
                                              of this Court is now in
                                                            is now    the process
                                                                   in the process

of resolving Google’s
of resolving          mandamus petition.
             Google's mandamus petition.

      In
      In connection with its
         connection with its mandamus
                             mandamus petition,
                                      petition, Google sought aa stay
                                                Google sought    stay pending
                                                                      pending

mandamus and
mandamus and administrative stay from
             administrative stay      the JPML.
                                 from the JPML. The
                                                The JPML initially granted
                                                    JPML initially granted an
                                                                           an

administrative stay. In
administrative stay. In re
                        re Google Dig. Advert.
                           Google Dig. Advert. Antitrust
                                               Antitrust Litig.,
                                                         Litig., No.
                                                                 No. 3010
                                                                     3010 (J.P.M.L.
                                                                          (J.P.M.L.

June 12, 2023),
June 12, 2023), ECF No. 252.
                ECF No. 252. But
                             But on August 3,
                                 on August 3, 2023,
                                              2023, the
                                                    the JPML ultimately denied
                                                        JPML ultimately denied

Google’s request for
Google's request for aa stay
                        stay pending
                             pending mandamus
                                     mandamus and set the
                                              and set the administrative stay to
                                                          administrative stay to

expire
expire in seven days
       in seven days so
                     so Google
                        Google could seek aa stay
                               could seek    stay from this Court.
                                                  from this        In re
                                                            Court. In re Google Dig.
                                                                         Google Dig.

Advert. Antitrust
Advert. Antitrust Litig.,
                  Litig., No.
                          No. 3010
                              3010 (J.P.M.L.
                                   (J.P.M.L. Aug.
                                             Aug. 3,
                                                  3, 2023),
                                                     2023), ECF No. 261
                                                            ECF No. 261 ("JPML
                                                                        (“JPML

Order Denying Stay”).
Order Denying         As to
              Stay"). As to likelihood
                            likelihood of
                                       of success
                                          success on the merits,
                                                  on the merits, the
                                                                 the JPML adhered
                                                                     JPML adhered

to its
to its mistaken
       mistaken belief
                belief that
                       that remand was appropriate
                            remand was appropriate because
                                                   because the
                                                           the Venue
                                                               Venue Act
                                                                     Act could be
                                                                         could be

applied to unwind
applied to unwind the
                  the earlier centralization order
                      earlier centralization order without
                                                   without raising
                                                           raising retroactivity
                                                                   retroactivity

concerns. See id.
concerns. See     at 2-4.
              id. at 2-4. And
                          And the
                              the JPML
                                  JPML concluded that Google
                                       concluded that        did not
                                                      Google did not risk
                                                                     risk

irreparable harm
irreparable      because, "should
            harm because, “should the
                                  the Second
                                      Second Circuit
                                             Circuit find
                                                     find error
                                                          error in the remand
                                                                in the remand

order,” there was
order," there was no
                  no risk the Second
                     risk the Second Circuit would lack
                                     Circuit would lack authority
                                                        authority to
                                                                  to order
                                                                     order the
                                                                           the case
                                                                               case

transferred back
transferred back from the Eastern
                 from the Eastern District of Texas.
                                  District of Texas. Id.
                                                     Id. at
                                                         at 2.
                                                            2.

      This motion for
      This motion for aa stay
                         stay and an administrative
                              and an                stay follows.
                                     administrative stay follows.

                              LEGAL STANDARD
                              LEGAL STANDARD

      “[T]he power
      "[T]he power to
                   to stay
                      stay proceedings
                           proceedings is
                                       is incidental to the
                                          incidental to the power
                                                            power inherent
                                                                  inherent in
                                                                           in every
                                                                              every

court to control
court to         the disposition
         control the disposition of the causes
                                 of the causes on
                                               on its docket with
                                                  its docket with economy
                                                                  economy of time and
                                                                          of time and



                                          55
              Case 23-910, Document 52, 08/08/2023, 3553512, Page13 of 31




effort
effort for itself, for
       for itself, for counsel, and for
                       counsel, and     litigants.” Landis
                                    for litigants." Landis v. North Am.
                                                           v. North Am. Co., 299 U.S.
                                                                        Co., 299 U.S.

248, 254-255
248, 254-255 (1936).
             (1936). In
                     In evaluating
                        evaluating aa motion
                                      motion for
                                             for aa stay
                                                    stay pending
                                                         pending appeal,
                                                                 appeal, this
                                                                         this Court
                                                                              Court

considers whether the
considers whether the applicant
                      applicant has shown aa likelihood
                                has shown    likelihood of “succe[ss] on
                                                        of "succe[ss] on the
                                                                         the merits;"
                                                                             merits;”

“irreparabl[e] injur[y]”;
"irreparabl[e] injur[y]"; comparatively less harm
                          comparatively less harm to
                                                  to "other
                                                     “other parties
                                                            parties interested
                                                                    interested in
                                                                               in the
                                                                                  the

proceeding;” and
proceeding;" and "where
                 “where the
                        the public
                            public interest lies.” Nken
                                   interest lies." Nken v. Holder, 556
                                                        v. Holder, 556 U.S.
                                                                       U.S. 418,
                                                                            418,

434 (2009)
434 (2009) (citation
           (citation omitted). “The degree
                     omitted). "The degree to
                                           to which
                                              which aa factor must be
                                                       factor must be present
                                                                      present varies
                                                                              varies

with the
with the strength
         strength of
                  of the
                     the other
                         other factors, meaning that
                               factors, meaning that more
                                                     more of
                                                          of one [factor] excuses
                                                             one [factor] excuses less
                                                                                  less

of another factor,”
of another          In re
           factor," In re World
                          World Trade
                                Trade Ctr. Disaster Site
                                      Ctr. Disaster Site Litig.,
                                                         Litig., 503 F.3d 167,
                                                                 503 F.3d 167, 170-
                                                                               170-

171 (2d
171 (2d Cir.
        Cir. 2007)
             2007) (quotation
                   (quotation marks
                              marks omitted), particularly where
                                    omitted), particularly where the
                                                                 the risk
                                                                     risk of
                                                                          of

irreparable injury
irreparable injury to
                   to the
                      the movant
                          movant is high, Thapa
                                 is high, Thapa v.
                                                v. Gonzales, 460 F.3d
                                                   Gonzales, 460 F.3d 323,
                                                                      323, 334
                                                                           334 (2d
                                                                               (2d

Cir. 2006).
Cir. 2006).

                                    ARGUMENT
                                    ARGUMENT

   I.
   I.     THIS COURT SHOULD
          THIS COURT SHOULD GRANT A STAY
                            GRANT A STAY OF
                                         OF THE JPML’S
                                            THE JPML'S
          REMAND
          REMAND ORDER
                  ORDER PENDING
                        PENDING THIS
                                THIS COURT’S
                                     COURT'S RESOLUTION OF
                                             RESOLUTION OF
          GOOGLE’S MANDAMUS PETITION.
          GOOGLE'S MANDAMUS  PETITION.

        The modest stay
        The modest stay Google
                        Google seeks
                               seeks is
                                     is warranted.
                                        warranted.        Google has
                                                          Google has aa substantial
                                                                        substantial

possibility of
possibility of success
               success on appeal, as
                       on appeal, as illustrated
                                     illustrated by
                                                 by this
                                                    this Court's
                                                         Court’s decision
                                                                 decision to
                                                                          to take
                                                                             take the
                                                                                  the

rare step
rare step of
          of ordering the State
             ordering the State Plaintiffs to respond
                                Plaintiffs to respond to
                                                      to Google’s mandamus petition.
                                                         Google's mandamus petition.

See ECF
See     No. 30.
    ECF No. 30. Google also faces
                Google also faces irreparable injury that
                                  irreparable injury that far
                                                          far outweighs any harm
                                                              outweighs any harm

to State
to State Plaintiffs, because the
         Plaintiffs, because the JPML’s
                                 JPML's remand
                                        remand order risks mooting
                                               order risks mooting Google’s
                                                                   Google's




                                          66
            Case 23-910, Document 52, 08/08/2023, 3553512, Page14 of 31




mandamus petition.
mandamus petition. And
                   And the
                       the public
                           public interest
                                  interest favors
                                           favors aa stay
                                                     stay because
                                                          because the
                                                                  the proposed
                                                                      proposed stay
                                                                               stay

would avoid
would avoid potentially
            potentially duplicative
                        duplicative litigation, thereby conserving
                                    litigation, thereby            judicial resources.
                                                        conserving judicial resources.

      A.
      A.        There Is A
                There Is A Substantial
                           Substantial Possibility
                                       Possibility That
                                                   That This Court Will
                                                        This Court Will Grant
                                                                        Grant
                Google’s Mandamus Petition.
                Google's Mandamus   Petition.

      To show aa likelihood
      To show    likelihood of
                            of success,
                               success, aa movant
                                           movant need
                                                  need not
                                                       not show
                                                           show aa certainty of
                                                                   certainty of

winning, or
winning, or even that it
            even that it is
                         is "more
                            “more likely than not
                                  likely than not to
                                                  to succeed."
                                                     succeed.” Citigroup
                                                               Citigroup Glob. Mkts.,
                                                                         Glob. Mkts.,

Inc. v.
Inc. v. VCG Special Opportunities
        VCG Special               Master Fund
                    Opportunities Master Fund Ltd.,
                                              Ltd., 598
                                                    598 F.3d
                                                        F.3d 30,
                                                             30, 34
                                                                 34 (2d
                                                                    (2d Cir. 2010).
                                                                        Cir. 2010).

Instead, the question
Instead, the question is
                      is "whether
                         “whether the
                                  the movant
                                      movant has
                                             has demonstrated
                                                 demonstrated aa substantial
                                                                 substantial

possibility, although
possibility, although less
                      less than
                           than aa likelihood, of success
                                   likelihood, of success on
                                                          on appeal.” Hirschfield v.
                                                             appeal." Hirschfield v.

Board of
Board of Elections,
         Elections, 984 F.2d 35,
                    984 F.2d 35, 39
                                 39 (2d
                                    (2d Cir.
                                        Cir. 1993)
                                             1993) (quotation
                                                   (quotation marks
                                                              marks omitted). For
                                                                    omitted). For

the reasons
the reasons explained in detail
            explained in detail in
                                in Google’s mandamus petition,
                                   Google's mandamus petition, Google meets this
                                                               Google meets this

standard. See
standard. See Mandamus
              Mandamus Petition 14-28. Google
                       Petition 14-28. Google has
                                              has demonstrated
                                                  demonstrated aa right
                                                                  right to
                                                                        to relief
                                                                           relief

that is
that is "clear
        “clear and indisputable,” that
               and indisputable," that it
                                       it has
                                          has "no
                                              “no other adequate means
                                                  other adequate means to
                                                                       to attain the
                                                                          attain the

relief,” and
relief," and that
             that the
                  the writ
                      writ is
                           is "appropriate
                              “appropriate under
                                           under the
                                                 the circumstances.” Linde v.
                                                     circumstances." Linde v. Arab
                                                                              Arab

Bank, PLC,
Bank, PLC, 706 F.3d 92,
           706 F.3d     107-108 (2d
                    92, 107-108 (2d Cir.
                                    Cir. 2013)
                                         2013) (quoting
                                               (quoting Cheney
                                                        Cheney v.
                                                               v. U.S. Dist. Ct.,
                                                                  U.S. Dist. Ct.,

542 U.S. 367,
542 U.S. 367, 380-381
              380-381 (2004)).
                      (2004)).

           1.
           1.    The JPML Misinterpreted
                 The JPML Misinterpreted The
                                         The Venue Act As
                                             Venue Act As A
                                                          A Matter
                                                            Matter Of Law.
                                                                   Of Law.

      The
      The JPML’s remand order
          JPML's remand order rests
                              rests on serious legal
                                    on serious legal errors that warrant
                                                     errors that warrant

mandamus. Under
mandamus. Under the
                the two-step
                    two-step Landgraf
                             Landgraf framework,
                                      framework, courts
                                                 courts first
                                                        first examine whether
                                                              examine whether

Congress “expressly prescribed
Congress "expressly prescribed the
                               the statute's
                                   statute’s proper
                                             proper reach."
                                                    reach.” 511 U.S. at
                                                            511 U.S. at 280.
                                                                        280. If the
                                                                             If the

statute is
statute    ambiguous, the
        is ambiguous, the court determines whether
                          court determines whether the
                                                   the new
                                                       new statute
                                                           statute "would
                                                                   “would have
                                                                          have


                                          77
           Case 23-910, Document 52, 08/08/2023, 3553512, Page15 of 31




retroactive effect,
retroactive effect, i.e., whether it
                    i.e., whether it would
                                     would impair
                                           impair rights
                                                  rights aa party
                                                            party possessed
                                                                  possessed when
                                                                            when he
                                                                                 he

acted, increase aa party's
acted, increase    party’s liability
                           liability for past conduct,
                                     for past conduct, or impose new
                                                       or impose new duties
                                                                     duties with
                                                                            with respect
                                                                                 respect

to transactions
to transactions already
                already completed.” Id. If
                        completed." Id. If the
                                           the statute
                                               statute would
                                                       would have
                                                             have such
                                                                  such an
                                                                       an effect, it
                                                                          effect, it

may not
may     be applied
    not be         retroactively unless
           applied retroactively unless Congress
                                        Congress clearly intended it
                                                 clearly intended it to.
                                                                     to. The
                                                                         The JPML
                                                                             JPML

erred as aa matter
erred as    matter of
                   of law
                      law at
                          at both
                             both steps.
                                  steps. See
                                         See Mandamus
                                             Mandamus Petition 15-27.
                                                      Petition 15-27.

      At Landgraf
      At Landgraf Step One, the
                  Step One, the JPML
                                JPML concluded that it
                                     concluded that it could not consider
                                                       could not          the
                                                                 consider the

Venue Act's
Venue Act’s statutory
            statutory history—which
                      history—which shows
                                    shows that
                                          that Congress
                                               Congress considered
                                                        considered and
                                                                   and

repeatedly rejected
repeatedly rejected aa retroactivity
                       retroactivity provision—because
                                     provision—because Landgraf
                                                       Landgraf suggests
                                                                suggests that
                                                                         that

Congress’s decision to
Congress's decision to remove
                       remove aa retroactivity provision 'may
                                 retroactivity provision “‘may reflect
                                                               reflect aa political
                                                                          political

compromise’
compromise' and
            and ‘does not tell
                `does not tell us
                               us precisely
                                  precisely where
                                            where the
                                                  the compromise was struck.'"
                                                      compromise was struck.’”

Remand
Remand Order 3 (quoting
       Order 3 (quoting Landgraf,
                        Landgraf, 511
                                  511 U.S.
                                      U.S. at
                                           at 256).
                                              256). But
                                                    But the
                                                        the problem
                                                            problem in Landgraf
                                                                    in Landgraf

was that
was that removal
         removal of particular statutory
                 of particular statutory language was weak
                                         language was weak evidence of
                                                           evidence of

congressional intent given
congressional intent given aa prior
                              prior presidential
                                    presidential veto.
                                                 veto. 511 U.S. at
                                                       511 U.S. at 256.
                                                                   256. Landgraf
                                                                        Landgraf did
                                                                                 did

not hold
not      that such
    hold that such evidence could not
                   evidence could not be
                                      be considered
                                         considered at
                                                    at all.
                                                       all. Indeed,
                                                            Indeed, in
                                                                    in Rivers,
                                                                       Rivers, decided
                                                                               decided

on the same
on the same day
            day as
                as Landgraf
                   Landgraf and
                            and addressing
                                addressing aa related
                                              related issue, the Supreme
                                                      issue, the Supreme Court
                                                                         Court

credited removal of
credited removal of aa retroactivity
                       retroactivity provision
                                     provision as
                                               as powerful
                                                  powerful evidence of Congress’s
                                                           evidence of Congress's

intent. Rivers
intent. Rivers v. Roadway Express,
               v. Roadway Express, Inc.,
                                   Inc., 511 U.S. 298,
                                         511 U.S. 298, 304-308
                                                       304-308 (1994).
                                                               (1994). Here,
                                                                       Here, even
                                                                             even

more than
more than in
          in Rivers,
             Rivers, Congress’s decision to
                     Congress's decision to twice
                                            twice reject
                                                  reject an
                                                         an express retroactivity
                                                            express retroactivity

provision is
provision is powerful
             powerful evidence that Congress
                      evidence that Congress did
                                             did not
                                                 not intend
                                                     intend the
                                                            the Venue
                                                                Venue Act
                                                                      Act to
                                                                          to apply
                                                                             apply

retroactively. And
retroactively. And while
                   while the
                         the JPML’s stay denial
                             JPML's stay denial stated
                                                stated that
                                                       that it
                                                            it did
                                                               did "not
                                                                   “not understand
                                                                        understand



                                           88
            Case 23-910, Document 52, 08/08/2023, 3553512, Page16 of 31




Rivers to
Rivers to mean
          mean that
               that legislative
                    legislative history
                                history should
                                        should be
                                               be considered
                                                  considered at step one
                                                             at step one of Landgraf,”
                                                                         of Landgraf,,"

that conclusion
that            is readily
     conclusion is readily refuted
                           refuted by
                                   by Hamdan
                                      Hamdan v. Rumsfeld, 548
                                             v. Rumsfeld,     U.S. 557
                                                          548 U.S.     (2006),
                                                                   557 (2006),

where the
where the Court
          Court held
                held that
                     that aa statute
                             statute did not apply
                                     did not       to pending
                                             apply to pending cases in part
                                                              cases in part because
                                                                            because

Congress had "rejected
Congress had “rejected earlier proposed versions
                       earlier proposed versions of the statute
                                                 of the statute that
                                                                that would
                                                                     would have"
                                                                           have”

made it
made it retroactive, and noted
        retroactive, and noted that
                               that "Congress'
                                    “Congress’ rejection
                                               rejection of
                                                         of the
                                                            the very
                                                                very language” that
                                                                     language" that

would have
would have required
           required retroactivity
                    retroactivity "weighs
                                  “weighs heavily
                                          heavily against
                                                  against the
                                                          the Government’s
                                                              Government's

interpretation.” Id.
interpretation." Id. at
                     at 579-580.
                        579-580.

      State
      State Plaintiffs have argued
            Plaintiffs have        that Congress's
                            argued that Congress’s use
                                                   use of the present
                                                       of the present tense
                                                                      tense in
                                                                            in the
                                                                               the

Venue Act—i.e.,
Venue Act—i.e., Congress’s decision to
                Congress's decision to exempt
                                       exempt from the MDL
                                              from the     process "any
                                                       MDL process “any action
                                                                        action

in which
in which the
         the United
             United States or aa State
                    States or    State is
                                       is aa complainant,"
                                             complainant,” 28
                                                           28 U.S.C.
                                                              U.S.C. §
                                                                     § 1407(g)
                                                                       1407(g)

(emphasis added)—indicates
(emphasis                  at Landgraf
          added)—indicates at Landgraf Step One that
                                       Step One that Congress intended the
                                                     Congress intended the

statute to
statute to apply retroactively. The
           apply retroactively. The JPML did not
                                    JPML did not accept
                                                 accept that
                                                        that rationale,
                                                             rationale, and
                                                                        and for good
                                                                            for good

reason—the Supreme
reason—the Supreme Court has rejected
                   Court has rejected aa materially
                                         materially identical
                                                    identical argument.
                                                              argument. In
                                                                        In Martin
                                                                           Martin

v. Hadix, aa litigant
v. Hadix,    litigant contended that Congress's
                      contended that Congress’s reference
                                                reference in
                                                          in an
                                                             an intervening statute to
                                                                intervening statute to

any action brought
any action brought by
                   by aa prisoner
                         prisoner "who
                                  “who is
                                       is confined” indicated that
                                          confined" indicated that Congress intended
                                                                   Congress intended

the statute
the statute to
            to apply
               apply to
                     to pending
                        pending cases.
                                cases. 527 U.S. 343,
                                       527 U.S. 343, 353
                                                     353 (1999)
                                                         (1999) (quotation
                                                                (quotation marks
                                                                           marks

omitted).
omitted).   The Court
            The       rejected that
                Court rejected that argument,
                                    argument, explaining that "it
                                              explaining that “it stretches
                                                                  stretches the
                                                                            the

imagination to
imagination to suggest
               suggest that
                       that Congress
                            Congress intended” to require
                                     intended" to         retroactivity through
                                                  require retroactivity through such
                                                                                such

indirect means.
indirect means. Id.
                Id. at
                    at 354.
                       354. The same reasoning
                            The same reasoning forecloses
                                               forecloses State
                                                          State Plaintiffs’ similar
                                                                Plaintiffs' similar

argument here.
argument here.



                                          99
            Case 23-910, Document 52, 08/08/2023, 3553512, Page17 of 31




       The JPML made
       The JPML made similar
                     similar errors
                             errors at Landgraf Step
                                    at Landgraf      Two. The
                                                Step Two. The JPML
                                                              JPML concluded
                                                                   concluded

that the
that the Venue
         Venue Act
               Act should
                   should apply to pending
                          apply to pending cases because the
                                           cases because the Venue
                                                             Venue Act
                                                                   Act "is
                                                                       “is plainly
                                                                           plainly

aa procedural
   procedural rule.”
              rule." Remand Order 3.
                     Remand Order 3. But the Supreme
                                     But the Supreme Court
                                                     Court has made clear
                                                           has made       that
                                                                    clear that

“the mere
"the mere fact that aa new
          fact that    new rule
                           rule is
                                is procedural
                                   procedural does
                                              does not
                                                   not mean
                                                       mean that
                                                            that it
                                                                 it applies
                                                                    applies to
                                                                            to every
                                                                               every

pending case.”
pending        Landgraf, 511
        case." Landgraf,     U.S. at
                         511 U.S. at 275
                                     275 n.29;
                                         n.29; see
                                               see also
                                                   also Martin,
                                                        Martin, 527 U.S. at
                                                                527 U.S. at 359
                                                                            359 ("it
                                                                                (“it

is not
is not enough to attach
       enough to attach aa label (e.g., ‘procedural,’
                           label (e.g., `procedural,' ‘collateral’) to the
                                                      `collateral') to the statute");
                                                                           statute”); Vernon
                                                                                      Vernon

v.
v. Cassadaga
   Cassadaga Valley
             Valley Cent. Sch. Dist.,
                    Cent. Sch. Dist., 49
                                      49 F.3d
                                         F.3d 886,
                                              886, 892
                                                   892 (2d
                                                       (2d Cir.
                                                           Cir. 1995)
                                                                1995) (Cabranes,
                                                                      (Cabranes, J.,
                                                                                 J.,

concurring) (cautioning against
concurring) (cautioning against "talismanic
                                “talismanic application”
                                            application" of the "categories
                                                         of the “categories

‘substantive’
`substantive' and
              and ‘procedural’”).
                  `procedural").

       The
       The JPML’s
           JPML's order denying Google’s
                  order denying          stay request
                                Google's stay request attempted to correct
                                                      attempted to         that
                                                                   correct that

error, but its
error, but its discussion
               discussion of the issue
                          of the issue only
                                       only creates more problems.
                                            creates more problems. The
                                                                   The JPML
                                                                       JPML

observed that the
observed that the relevant
                  relevant discussion
                           discussion in
                                      in footnote 29 of
                                         footnote 29 of Langraf"is
                                                        Langraf “is appended
                                                                    appended to
                                                                             to the
                                                                                the

Court’s discussion of
Court's discussion    how Section
                   of how         1404(a) applies
                          Section 1404(a)         to pre-enactment
                                          applies to pre-enactment pending
                                                                   pending cases
                                                                           cases

without giving
without giving rise
               rise to
                    to retroactivity
                       retroactivity concerns,” which the
                                     concerns," which the JPML understood to
                                                          JPML understood to suggest
                                                                             suggest

“that venue
"that venue is
            is not
               not one of the
                   one of the special
                              special kind
                                      kind of procedural rules
                                           of procedural       that should
                                                         rules that should apply to
                                                                           apply to

some pending
some pending cases but not
             cases but not others."
                           others.” JPML
                                    JPML Order Denying Stay
                                         Order Denying      4. But
                                                       Stay 4. But Landgraf
                                                                   Landgraf

unequivocally stated
unequivocally stated that
                     that characterizing
                          characterizing aa rule
                                            rule as procedural does
                                                 as procedural does not dictate that
                                                                    not dictate that it
                                                                                     it

applies to pending
applies to pending cases,
                   cases, and
                          and it makes no
                              it makes no difference
                                          difference what
                                                     what discussion
                                                          discussion this
                                                                     this statement
                                                                          statement

was "appended"
was “appended” to.
               to. And
                   And while
                       while the
                             the JPML maintained that
                                 JPML maintained that "[t]ransfer
                                                      “[t]ransfer of venue during
                                                                  of venue during

pretrial proceedings
pretrial proceedings does
                     does not
                          not implicate the ‘commonsense’
                              implicate the `commonsense' concerns raised by
                                                          concerns raised by



                                            10
                                            10
           Case 23-910, Document 52, 08/08/2023, 3553512, Page18 of 31




footnote 29,” id.,
footnote 29,"      that is
              id., that is also
                           also mistaken.
                                mistaken. Landgraf
                                          Landgraf noted
                                                   noted that
                                                         that aa "new
                                                                 “new rule
                                                                      rule concerning
                                                                           concerning

the filing
the        of complaints
    filing of            would not
              complaints would not govern
                                   govern an
                                          an action in which
                                             action in which the
                                                             the complaint
                                                                 complaint had
                                                                           had

already been properly
already been properly filed under the
                      filed under the old
                                      old regime.”
                                          regime." 511 U.S. at
                                                   511 U.S.    275 n.29.
                                                            at 275 n.29. For
                                                                         For the
                                                                             the

exact same reason,
exact same reason, aa new
                      new rule
                          rule concerning the transfer
                               concerning the transfer of
                                                       of cases to an
                                                          cases to an MDL
                                                                      MDL court does
                                                                          court does

not govern
not        an action
    govern an action in
                     in which
                        which the
                              the transfer
                                  transfer had
                                           had already
                                               already properly
                                                       properly occurred.
                                                                occurred.

         2.
         2.   The JPML Failed
              The JPML Failed To  Apply Any
                               To Apply Any Substantive
                                            Substantive Legal
                                                        Legal Standard
                                                              Standard To Its
                                                                       To Its
              Remand Decision.
              Remand Decision.

      Because the Venue
      Because the Venue Act
                        Act does
                            does not
                                 not operate retroactively, the
                                     operate retroactively, the correct legal test
                                                                correct legal test is
                                                                                   is

the remand
the        standard in
    remand standard in the
                       the MDL
                           MDL statute.
                               statute. See
                                        See 28
                                            28 U.S.C.
                                               U.S.C. §
                                                      § 1407(a).
                                                        1407(a). Under
                                                                 Under 28
                                                                       28 U.S.C.
                                                                          U.S.C.

§ 1407(a),
§ 1407(a), each transferred action
           each transferred action "shall
                                   “shall be
                                          be remanded
                                             remanded by
                                                      by the
                                                         the [P]anel
                                                             [P]anel at
                                                                     at or before the
                                                                        or before the

conclusion
conclusion of such [coordinated
           of such [coordinated or
                                or consolidated] pretrial proceedings
                                   consolidated] pretrial proceedings to
                                                                      to the
                                                                         the district
                                                                             district

from which it
from which it was
              was transferred."
                  transferred.” The decision whether
                                The decision whether to
                                                     to remand
                                                        remand aa case turns on
                                                                  case turns on

whether the
whether the parties
            parties can still "benefit
                    can still “benefit from
                                       from further
                                            further coordinated proceedings as
                                                    coordinated proceedings    part of
                                                                            as part of

the MDL."
the MDL.” In
          In re Activated Carbon-Based
             re Activated              Hunting Clothing
                          Carbon-Based Hunting          Mktg. &
                                               Clothing Mktg. & Sales
                                                                Sales Pracs.
                                                                      Pracs.

Litig., 840
Litig.,     F. Supp.
        840 F.       2d 1193,
               Supp. 2d 1193, 1198
                              1198 (D.
                                   (D. Minn.
                                       Minn. 2012).
                                             2012). In particular, the
                                                    In particular, the Panel “has the
                                                                       Panel "has the

discretion to
discretion to remand
              remand aa case when everything
                        case when            that remains
                                  everything that         to be
                                                  remains to be done
                                                                done is
                                                                     is case-
                                                                        case-

specific,” or
specific,"    when it
           or when it "will
                      “will serve
                            serve the
                                  the convenience
                                      convenience of the parties
                                                  of the parties and witnesses and
                                                                 and witnesses and

will promote
will promote the
             the just
                 just and
                      and efficient
                          efficient conduct of [the
                                    conduct of [the litigation].” In re
                                                    litigation]." In    Patenaude, 210
                                                                     re Patenaude, 210

F.3d 135,
F.3d 135, 145
          145 (3d
              (3d Cir.
                  Cir. 2000)
                       2000) (citation
                             (citation omitted).
                                       omitted).

      These
      These factors
            factors favor keeping the
                    favor keeping the State
                                      State Plaintiffs’
                                            Plaintiffs' case before Judge
                                                        case before       Castel in
                                                                    Judge Castel in

the Southern
the          District of
    Southern District    New York.
                      of New York. See
                                   See In
                                       In re
                                          re Google Dig. Advert.
                                             Google Dig. Advert. Antitrust
                                                                 Antitrust Litig.,
                                                                           Litig.,

                                         11
                                         11
           Case 23-910, Document 52, 08/08/2023, 3553512, Page19 of 31




No. 3010
No. 3010 (J.P.M.L.
         (J.P.M.L. Mar.
                   Mar. 22,
                        22, 2023),
                            2023), ECF No. 238
                                   ECF No. 238 at
                                               at 17-20
                                                  17-20 ("Google's
                                                        (“Google’s Remand
                                                                   Remand

Opp.”). Indeed, the
Opp."). Indeed, the Panel
                    Panel centralized
                          centralized State
                                      State Plaintiffs’ action because
                                            Plaintiffs' action because it
                                                                       it recognized
                                                                          recognized

the "substantial
the “substantial overlap
                 overlap in
                         in the
                            the alleged
                                alleged Google
                                        Google conduct, plaintiffs’ overlapping
                                               conduct, plaintiffs'             but
                                                                    overlapping but

different proposed
different proposed relevant markets, and
                   relevant markets,     the involvement
                                     and the involvement of
                                                         of third-party
                                                            third-party discovery."
                                                                        discovery.”

In re:
In     Digital Advert.
   re: Digital Advert. Antitrust
                       Antitrust Litig.,
                                 Litig., 555 F. Supp.
                                         555 F.       3d at
                                                Supp. 3d    1378-79. The
                                                         at 1378-79. The "common
                                                                         “common

factual
factual core”
        core" across the actions
              across the         meant that
                         actions meant that centralization would be
                                            centralization would be the
                                                                    the most
                                                                        most efficient
                                                                             efficient

means of
means of completing
         completing discovery and pretrial
                    discovery and pretrial motions.
                                           motions. Id.
                                                    Id. at 1377-78. The
                                                        at 1377-78.     nearly two
                                                                    The nearly two

years since
years since that
            that ruling
                 ruling have
                        have borne
                             borne out
                                   out its prescience. Judge
                                       its prescience. Judge Castel has established
                                                             Castel has established aa

structure for
structure     the efficient
          for the           management of
                  efficient management    these cases,
                                       of these        he resolved
                                                cases, he resolved Google’s motion
                                                                   Google's motion

to dismiss
to dismiss the
           the State Plaintiffs’ federal
               State Plaintiffs' federal antitrust
                                         antitrust claims and other
                                                   claims and other pretrial
                                                                    pretrial disputes,
                                                                             disputes, and
                                                                                       and

he continues
he           to marshal
   continues to marshal coordinated discovery. See
                        coordinated discovery. See Google’s
                                                   Google's Remand
                                                            Remand Opp. 4-6.
                                                                   Opp. 4-6.

      If State
      If State Plaintiffs
               Plaintiffs are
                          are removed
                              removed from the MDL,
                                      from the MDL, the
                                                    the benefits
                                                        benefits of
                                                                 of Judge
                                                                    Judge Castel’s
                                                                          Castel's

efforts to coordinate
efforts to            discovery could
           coordinate discovery       abruptly vanish,
                                could abruptly vanish, as
                                                       as State
                                                          State Plaintiffs
                                                                Plaintiffs continue to
                                                                           continue to

press for
press     their case
      for their      to proceed
                case to proceed on
                                on an
                                   an accelerated scheduled that,
                                      accelerated scheduled that, if adopted, would
                                                                  if adopted, would

require the
require the parties
            parties to
                    to engage in duplicative
                       engage in duplicative fact and expert
                                             fact and        discovery in
                                                      expert discovery in the
                                                                          the Eastern
                                                                              Eastern

District
District of Texas and
         of Texas and the
                      the Southern District of
                          Southern District    New York.
                                            of New York. See
                                                         See Pls.’
                                                             Pls.' Request
                                                                   Request for
                                                                           for Status
                                                                               Status

Conf. & Trial
Conf. & Trial Date,
              Date, Texas
                    Texas v.
                          v. Google LLC, No.
                             Google LLC, No. 4:20-CV-957-SDJ
                                             4:20-CV-957-SDJ (E.D.
                                                             (E.D. Tex.
                                                                   Tex. June
                                                                        June 8,
                                                                             8,

2021), ECF
2021),     No. 146
       ECF No. 146 at
                   at 22 (requesting
                         (requesting Eastern
                                     Eastern District
                                             District of
                                                      of Texas trial as
                                                         Texas trial as early as
                                                                        early as

“March 2024").
"March 2024”). Many
               Many of the same
                    of the same discovery
                                discovery disputes
                                          disputes or
                                                   or procedural
                                                      procedural issues
                                                                 issues will
                                                                        will arise
                                                                             arise

in both
in both venues,
        venues, given
                given the
                      the common
                          common factual
                                 factual core,
                                         core, and
                                               and courts might issue
                                                   courts might issue inconsistent
                                                                      inconsistent



                                           12
                                           12
            Case 23-910, Document 52, 08/08/2023, 3553512, Page20 of 31




pretrial rulings.
pretrial          And the
         rulings. And the courts
                          courts could
                                 could render inconsistent substantive
                                       render inconsistent substantive rulings,
                                                                       rulings, which
                                                                                which

then could
then       give rise
     could give rise to
                     to circuit splits on
                        circuit splits    issues arising
                                       on issues arising from
                                                         from Google’s very same
                                                              Google's very same

alleged
alleged conduct,
        conduct, far
                 far from
                     from an
                          an efficient
                             efficient result.
                                       result. In short, remand
                                               In short,        would risk
                                                         remand would risk precisely
                                                                           precisely

what the
what the JPML sought to
         JPML sought to avoid
                        avoid by
                              by creating the MDL.
                                 creating the      In granting
                                              MDL. In granting the
                                                               the State
                                                                   State Plaintiffs’
                                                                         Plaintiffs'

transfer request,
transfer          the Panel
         request, the Panel failed to consider
                            failed to          these factors
                                      consider these         at all,
                                                     factors at      deviating from
                                                                all, deviating from

Section
Section 1407(a) without considering
        1407(a) without             whether remand
                        considering whether remand would
                                                   would be
                                                         be more
                                                            more convenient,
                                                                 convenient,

efficient,
efficient, or just.
           or just.

       The Venue Act
       The Venue Act does
                     does not
                          not itself
                              itself set
                                     set aa new
                                            new standard
                                                standard for
                                                         for evaluating
                                                             evaluating remand
                                                                        remand

motions. It
motions. It is therefore categorically
            is therefore               different than
                         categorically different than the
                                                      the statute
                                                          statute at
                                                                  at issue
                                                                     issue in Ex parte
                                                                           in Ex parte

Collett, 337 U.S.
Collett, 337 U.S. 55 (1949), and
                  55 (1949), and United States v.
                                 United States v. National
                                                  National City Lines, Inc.,
                                                           City Lines, Inc., 337
                                                                             337 U.S.
                                                                                 U.S.

78 (1949) ("National
78 (1949) (“National City Lines II"),
                     City Lines II”), on which the
                                      on which the JPML
                                                   JPML heavily relied. See
                                                        heavily relied. See Remand
                                                                            Remand

Order 2. Those
Order 2. Those cases
               cases considered
                     considered Congress’s
                                Congress's enactment
                                           enactment of
                                                     of aa new
                                                           new transfer standard,
                                                               transfer standard,

which provided
which provided that,
               that, "[for
                     “[f]or the
                            the convenience
                                convenience of parties and
                                            of parties     witnesses, in
                                                       and witnesses, in the
                                                                         the interest
                                                                             interest

of justice, aa district
of justice,    district court may transfer
                        court may transfer any
                                           any civil action to
                                               civil action to any
                                                               any other district or
                                                                   other district    division
                                                                                  or division

where it
where it might
         might have
               have been
                    been brought."
                         brought.” 28
                                   28 U.S.C.
                                      U.S.C. §
                                             § 1404(a).
                                               1404(a). And
                                                        And in
                                                            in each of those
                                                               each of those

cases, the Supreme
cases, the Supreme Court
                   Court concluded that aa district
                         concluded that    district court
                                                    court could grant aa new
                                                          could grant    new transfer
                                                                             transfer

motion based
motion       on the
       based on     factors outlined
                thefactors  outlined in
                                     in the
                                        the newly
                                            newly enacted statute.
                                                  enacted statute.

       For example,
       For example, in National City
                    in National      Lines, the
                                City Lines, the Supreme
                                                Supreme Court
                                                        Court considered
                                                              considered aa new
                                                                            new

legal standard for
legal standard     venue in
               for venue in Clayton Act cases.
                            Clayton Act cases. In National City
                                               In National      Lines I,
                                                           City Lines I, the
                                                                         the Supreme
                                                                             Supreme

Court held that
Court held that the
                the Clayton Act’s venue
                    Clayton Act's venue provision
                                        provision left no room
                                                  left no      “for judicial
                                                          room "for judicial



                                             13
                                             13
           Case 23-910, Document 52, 08/08/2023, 3553512, Page21 of 31




discretion .. .. .. to
discretion          to deprive"
                       deprive” the
                                the government
                                    government plaintiff
                                               plaintiff of its chosen
                                                         of its chosen forum. 334 U.S.
                                                                       forum. 334 U.S.

573, 588 (1948).
573, 588 (1948). The
                 The Supreme
                     Supreme Court therefore concluded
                             Court therefore           that aa California
                                             concluded that               district
                                                               California district

court
court erred in dismissing
      erred in dismissing antitrust
                          antitrust claims brought by
                                    claims brought by the
                                                      the United
                                                          United States
                                                                 States on the basis
                                                                        on the basis

that it
that it would
        would be
              be more
                 more convenient
                      convenient for the claims
                                 for the        to be
                                         claims to be heard
                                                      heard in
                                                            in Illinois.
                                                               Illinois. Id.
                                                                         Id. at
                                                                             at 576-
                                                                                576-

577, 588. However,
577, 588. However, Congress later enacted
                   Congress later         28 U.S.C.
                                  enacted 28 U.S.C. §§ 1404(a),
                                                       1404(a), which
                                                                which provided
                                                                      provided

for transfer of
for transfer    “any civil
             of "any       action” based
                     civil action" based on “the convenience
                                         on "the convenience of parties and
                                                             of parties and witnesses"
                                                                            witnesses”

and “in the
and "in the interest
            interest of justice.” In
                     of justice." In National
                                     National City Lines II,
                                              City Lines II, the
                                                             the Supreme Court
                                                                 Supreme Court

explained that this
explained that this new
                    new standard
                        standard "expand[ed]
                                 “expand[ed] the
                                             the transferability
                                                 transferability of
                                                                 of cases” so that
                                                                    cases" so that

courts would no
courts would no longer
                longer exempt “antitrust suits"
                       exempt "antitrust suits” from “forum non
                                                from "forum non conveniens”
                                                                conveniens"

considerations. 337 U.S.
considerations. 337 U.S. at
                         at 81-82
                            81-82 (quoting
                                  (quoting 28
                                           28 U.S.C.
                                              U.S.C. §§ 1404(a)).
                                                        1404(a)). And
                                                                  And the
                                                                      the Supreme
                                                                          Supreme

Court ultimately approved
Court ultimately approved of
                          of the
                             the district
                                 district court’s transfer decision
                                          court's transfer decision based
                                                                    based on those
                                                                          on those

convenience-related
convenience-related factors. Id. at
                    factors. Id.    84; accord
                                 at 84; accord Ex
                                               Ex parte
                                                  parte Collett, 337 U.S.
                                                        Collett, 337 U.S. at
                                                                          at 56-57.
                                                                             56-57.

      Unlike in
      Unlike in National
                National City Lines and
                         City Lines and Ex
                                        Ex parte
                                           parte Collett, the JPML
                                                 Collett, the      was not
                                                              JPML was not

presented with
presented with aa new
                  new transfer
                      transfer standard
                               standard in the Venue
                                        in the Venue Act.
                                                     Act. The
                                                          The Venue
                                                              Venue Act
                                                                    Act merely
                                                                        merely

exempts States from
exempts States      the MDL
               from the MDL statute.
                            statute. Yet
                                     Yet the
                                         the Panel
                                             Panel failed to apply
                                                   failed to apply any
                                                                   any legal
                                                                       legal test
                                                                             test at
                                                                                  at

all when it
all when it granted
            granted the
                    the State
                        State Plaintiffs’
                              Plaintiffs' remand
                                          remand request.
                                                 request. The
                                                          The Panel did not
                                                              Panel did not apply
                                                                            apply

Section 1407, which
Section 1407, which would
                    would have
                          have required
                               required the
                                        the Panel to consider
                                            Panel to          whether remand
                                                     consider whether remand

would be
would be more
         more convenient,
              convenient, efficient,
                          efficient, or just. And
                                     or just. And the
                                                  the Panel
                                                      Panel did
                                                            did not
                                                                not consider an
                                                                    consider an

alternative standard such
alternative standard such as
                          as Section 1404(a)’s transfer
                             Section 1404(a)'s transfer standard.
                                                        standard. Instead, the Panel
                                                                  Instead, the Panel

granted the
granted the request
            request based
                    based on the Panel’s
                          on the Panel's conclusion that "the
                                         conclusion that “the power
                                                              power to
                                                                    to remand is aa
                                                                       remand is



                                         14
                                         14
           Case 23-910, Document 52, 08/08/2023, 3553512, Page22 of 31




part of
part    the Panel's
     of the Panel’s inherent authority to
                    inherent authority to grant
                                          grant aa remedy
                                                   remedy for actions transferred
                                                          for actions transferred to
                                                                                  to an
                                                                                     an

MDL that no
MDL that    longer belong
         no longer belong there,"
                          there,” and
                                  and that
                                      that the
                                           the Venue
                                               Venue Act
                                                     Act is
                                                         is "intended
                                                            “intended to
                                                                      to allow
                                                                         allow state
                                                                               state

antitrust actions to
antitrust actions to proceed
                     proceed in the action’s
                             in the action's original
                                             original forum.” Remand Order
                                                      forum." Remand Order 4.
                                                                           4. The
                                                                              The

Panel therefore indisputably
Panel therefore              “failed to
                indisputably "failed to consider” the "statutorily
                                        consider" the “statutorily mandated"
                                                                   mandated” factors
                                                                             factors

that should
that should have
            have informed
                 informed its
                          its analysis.
                              analysis. In
                                        In re
                                           re Warrick,
                                              Warrick, 70 F.3d 736,
                                                       70 F.3d 736, 740 (2d Cir.
                                                                    740 (2d Cir.

1995) (per
1995) (per curiam). That error
           curiam). That error amounts to "a
                               amounts to “a clear abuse of
                                             clear abuse of discretion,"
                                                            discretion,” making
                                                                         making "a
                                                                                “a

writ of
writ of mandamus
        mandamus is appropriate.” Id.
                 is appropriate." Id.

          3.
          3.   Google Has No
               Google Has  No Other   Adequate Means
                               Other Adequate   Means To   Attain Relief
                                                       To Attain  Relief And
                                                                         And
               Mandamus Is
               Mandamus Is Appropriate
                           Appropriate Under
                                       Under The
                                             The Circumstances.
                                                 Circumstances.

      A mandamus
      A mandamus petition
                 petition to
                          to this
                             this Court
                                  Court is
                                        is Google’s
                                           Google's only avenue for
                                                    only avenue for relief,
                                                                    relief, and it
                                                                            and it

is appropriate
is appropriate under
               under the
                     the circumstances here. See
                         circumstances here. See Mandamus
                                                 Mandamus Petition 28-30. The
                                                          Petition 28-30. The

MDL statute provides
MDL statute provides that
                     that "[n]o
                          “[n]o proceedings
                                proceedings for
                                            for review of any
                                                review of any order of the
                                                              order of the [JPML]
                                                                           [JPML]

may be
may be permitted
       permitted except by extraordinary
                 except by               writ” and
                           extraordinary writ" and that
                                                   that writ
                                                        writ petitions
                                                             petitions "shall
                                                                       “shall be
                                                                              be filed
                                                                                 filed

only in the
only in the court of appeals
            court of         having jurisdiction
                     appeals having jurisdiction over the transferee
                                                 over the transferee district."
                                                                     district.” 28
                                                                                28

U.S.C. §§ 1407(e).
U.S.C.    1407(e). Moreover, this Court
                   Moreover, this Court has
                                        has held
                                            held that
                                                 that "a
                                                      “a writ
                                                         writ of
                                                              of mandamus
                                                                 mandamus is
                                                                          is

appropriate” to correct
appropriate" to correct aa transfer
                           transfer like this one
                                    like this one that
                                                  that rests
                                                       rests on
                                                             on aa misapplication
                                                                   misapplication of
                                                                                  of aa

statute. Warrick,
statute. Warrick, 70 F.3d at
                  70 F.3d at 740.
                             740.

      State
      State Plaintiffs have argued
            Plaintiffs have argued that
                                   that mandamus
                                        mandamus is
                                                 is not
                                                    not warranted
                                                        warranted because
                                                                  because the
                                                                          the loss
                                                                              loss

of
of efficiency associated with
   efficiency associated with an
                              an erroneous transfer imposes
                                 erroneous transfer imposes no
                                                            no legally
                                                               legally cognizable
                                                                       cognizable

injury and
injury     therefore cannot
       and therefore        be corrected
                     cannot be           through mandamus.
                               corrected through mandamus. That
                                                           That argument
                                                                argument is
                                                                         is

refuted by
refuted by this
           this Court's
                Court’s precedent,
                        precedent, which
                                   which holds
                                         holds that
                                               that mandamus
                                                    mandamus is
                                                             is appropriate
                                                                appropriate to
                                                                            to

                                          15
                                          15
             Case 23-910, Document 52, 08/08/2023, 3553512, Page23 of 31




correct
correct erroneous transfers. Id.
        erroneous transfers. Id. This
                                 This argument
                                      argument is
                                               is also
                                                  also refuted by the
                                                       refuted by the text
                                                                      text of
                                                                           of the
                                                                              the MDL
                                                                                  MDL

statute, which
statute, which contemplates
               contemplates that
                            that parties
                                 parties may
                                         may seek
                                             seek "review"
                                                  “review” of “an order
                                                           of "an       to transfer"
                                                                  order to transfer”

by mandamus.
by mandamus. 28
             28 U.S.C.
                U.S.C. §§ 1407(e).
                          1407(e). Congress would not
                                   Congress would not have
                                                      have made
                                                           made JPML transfer
                                                                JPML transfer

decisions reviewable
decisions reviewable by
                     by mandamus
                        mandamus if
                                 if such
                                    such decisions
                                         decisions imposed
                                                   imposed no
                                                           no cognizable
                                                              cognizable injury.
                                                                         injury.

       B.
       B.        Google Will Suffer
                 Google Will Suffer Irreparable
                                    Irreparable Injury
                                                Injury Absent
                                                       Absent A
                                                              A Stay.
                                                                Stay.

            1.
            1.    Absent A
                  Absent A Stay,
                           Stay, The Remand Order
                                 The Remand  Order Threatens
                                                    Threatens To Strip Google
                                                              To Strip Google Of Its
                                                                              Of Its
                  Right To
                  Right    Seek Reversal
                        To Seek Reversal By
                                         By Writ
                                            Writ Of Mandamus.
                                                 Of Mandamus.

       The MDL statute
       The MDL statute provides
                       provides for
                                for review
                                    review of
                                           of JPML
                                              JPML orders through mandamus
                                                   orders through mandamus

petitions to
petitions to the
             the court of appeals
                 court of         having jurisdiction
                          appeals having jurisdiction over the transferee
                                                      over the transferee district.
                                                                          district. 28
                                                                                    28

U.S.C. §§ 1407(e).
U.S.C.    1407(e). Here, the transferee
                   Here, the transferee district
                                        district is
                                                 is the
                                                    the Southern District of
                                                        Southern District of New
                                                                             New York,
                                                                                 York,

so Google
so Google filed its mandamus
          filed its mandamus petition
                             petition in
                                      in this
                                         this Court.
                                              Court. See
                                                     See id. But this
                                                         id. But this Court has held
                                                                      Court has held

that it
that it only
        only has jurisdiction to
             has jurisdiction to grant
                                 grant aa mandamus
                                          mandamus petition
                                                   petition seeking
                                                            seeking to
                                                                    to reverse
                                                                       reverse an
                                                                               an order
                                                                                  order

transferring aa case
transferring         to aa district
                case to    district court
                                    court outside
                                          outside of the Second
                                                  of the        Circuit if
                                                         Second Circuit if the
                                                                           the transfer
                                                                               transfer has
                                                                                        has

not yet
not yet occurred.
        occurred. Warrick,
                  Warrick, 70 F.3d at
                           70 F.3d at 739.
                                      739. Google anticipates that
                                           Google anticipates that the
                                                                   the transfer
                                                                       transfer will
                                                                                will

occur
occur as
      as early as Thursday,
         early as           August 10,
                  Thursday, August     2023.
                                   10, 2023.

       Once that transfer
       Once that transfer is
                          is effectuated, precedent suggests
                             effectuated, precedent suggests this
                                                             this Court may no
                                                                  Court may no longer
                                                                               longer

consider itself to
consider itself to have jurisdiction to
                   have jurisdiction to reverse the Remand
                                        reverse the        Order. In
                                                    Remand Order. In Warrick, this
                                                                     Warrick, this

Court held that
Court held that aa party
                   party seeking
                         seeking mandamus
                                 mandamus review
                                          review of
                                                 of aa transfer
                                                       transfer order must file
                                                                order must file aa

motion to
motion to stay
          stay the
               the transfer
                   transfer before
                            before the
                                   the case is physically
                                       case is physically transferred,
                                                          transferred, i.e., “early
                                                                       i.e., "early

enough to preserve"
enough to preserve” the
                    the appellate
                        appellate court’s “power to
                                  court's "power to issue mandamus reversing
                                                    issue mandamus reversing the
                                                                             the

transfer.” 70
transfer."    F.3d at
           70 F.3d at 739; see also
                      739; see also Drabik
                                    Drabik v. Murphy, 246
                                           v. Murphy, 246 F.2d
                                                          F.2d 408,
                                                               408, 409
                                                                    409 (2d
                                                                        (2d Cir.
                                                                            Cir.


                                            16
                                            16
           Case 23-910, Document 52, 08/08/2023, 3553512, Page24 of 31




1957) (L.
1957) (L. Hand,
          Hand, J.)
                J.) (explaining
                    (explaining writ
                                writ review
                                     review of transfer order
                                            of transfer       is inappropriate
                                                        order is inappropriate where
                                                                               where

party seeking
party seeking review
              review "did
                     “did not stay the
                          not stay the transfer,
                                       transfer, or preserve the
                                                 or preserve the jurisdiction
                                                                 jurisdiction of the
                                                                              of the

District
District Court
         Court for the Southern
               for the          District”). A
                       Southern District"). A stay
                                              stay will
                                                   will ensure that this
                                                        ensure that this Court
                                                                         Court retains
                                                                               retains

the power
the power to
          to reverse
             reverse the
                     the Panel’s
                         Panel's Remand
                                 Remand Order, and Google’s
                                        Order, and          mandamus petition
                                                   Google's mandamus petition is
                                                                              is

not rendered
not rendered aa "a
                “a futile
                   futile exercise.” See Roofing
                          exercise." See Roofing &
                                                 & Sheet
                                                   Sheet Metal
                                                         Metal Servs.,
                                                               Servs., Inc.
                                                                       Inc. v. La
                                                                            v. La

Quinta Motor Inns,
Quinta Motor Inns, Inc.,
                   Inc., 689 F.2d 982,
                         689 F.2d 982, 988 n.10 (11th
                                       988 n.10 (11th Cir. 1982).
                                                      Cir. 1982).

      The
      The JPML dismissed this
          JPML dismissed this concern, based on
                              concern, based    its view
                                             on its view that,
                                                         that, because
                                                               because "[t]ransfer
                                                                       “[t]ransfer

and
and remand
    remand of [this case]
           of [this       between the
                    case] between the transferor
                                      transferor and
                                                 and transferee
                                                     transferee court happens under
                                                                court happens under

the Panel’s
the         authority under
    Panel's authority under Section
                            Section 1407,
                                    1407, in
                                          in contrast to aa district
                                             contrast to    district court’s authority
                                                                     court's authority

under Section
under         1404,” "should
      Section 1404," “should the
                             the Second Circuit find
                                 Second Circuit find error in the
                                                     error in the remand
                                                                  remand order,” it
                                                                         order," it

could
could correct that error
      correct that       though an
                   error though an order “directed to
                                   order "directed to the
                                                      the Panel."
                                                          Panel.” JPML
                                                                  JPML Order
                                                                       Order

Denying Stay
Denying      2. The
        Stay 2. The JPML
                    JPML cited
                         cited no
                               no authority
                                  authority for that proposition,
                                            for that proposition, and
                                                                  and State
                                                                      State

Plaintiffs have disputed
Plaintiffs have disputed it.
                         it. In their opposition
                             In their            to mandamus,
                                      opposition to mandamus, State
                                                              State Plaintiffs have
                                                                    Plaintiffs have

argued that the
argued that the Venue
                Venue Act
                      Act "deprives
                          “deprives the
                                    the JPML
                                        JPML of jurisdiction” over
                                             of jurisdiction" over this
                                                                   this case.
                                                                        case. State
                                                                              State

Pls. Opp. to
Pls. Opp. to Mandamus
             Mandamus 12
                      12 n.5. If State
                         n.5. If State Plaintiffs were to
                                       Plaintiffs were to prevail
                                                          prevail on
                                                                  on that
                                                                     that point,
                                                                          point, it
                                                                                 it

could prevent the
could prevent the JPML
                  JPML from
                       from complying with aa writ
                            complying with    writ of
                                                   of mandamus
                                                      mandamus from this Court.
                                                               from this Court.

There is no
There is    need to
         no need to require
                    require Google to pursue
                            Google to pursue such
                                             such aa precarious
                                                     precarious path
                                                                path when
                                                                     when it
                                                                          it has
                                                                             has

shown aa stay
shown    stay is
              is warranted.
                 warranted. Without
                            Without aa stay,
                                       stay, effectuation of the
                                             effectuation of the Remand Order risks
                                                                 Remand Order risks

preventing this
preventing this Court
                Court from
                      from ordering the case
                           ordering the case returned to the
                                             returned to the Southern District of
                                                             Southern District of

New York.
New York. That
          That potential
               potential "loss
                         “loss of
                               of appellate
                                  appellate rights”
                                            rights" constitutes irreparable harm
                                                    constitutes irreparable harm and
                                                                                 and



                                         17
                                         17
           Case 23-910, Document 52, 08/08/2023, 3553512, Page25 of 31




has resulted
has resulted in
             in aa "quintessential
                   “quintessential form
                                   form of prejudice” in
                                        of prejudice" in related
                                                         related contexts. In re
                                                                 contexts. In re

Adelphia Commc’ns
Adelphia Commc'ns Corp., 361 B.R.
                  Corp., 361      337, 348
                             B.R. 337, 348 (S.D.N.Y.
                                           (S.D.N.Y. 2007)
                                                     2007) (granting
                                                           (granting motion
                                                                     motion to
                                                                            to

stay pending
stay pending appeal) (citation omitted).
             appeal) (citation omitted).

          2.
          2.   A Stay
               A Stay Is
                      Is Necessary
                         Necessary To  Prevent Irreparably
                                   To Prevent  Irreparably Curtailing
                                                           Curtailing The
                                                                      The
               Efficiencies And
               Efficiencies And Benefits
                                Benefits Of
                                         Of The MDL.
                                            The MDL.

      Absent aa stay,
      Absent    stay, Google
                      Google risks irreparably losing
                             risks irreparably        the benefits
                                               losing the benefits and
                                                                   and efficiencies of
                                                                       efficiencies of

the MDL
the     regardless of
    MDL regardless    the outcome
                   of the outcome of its mandamus
                                  of its mandamus petition.
                                                  petition. Those
                                                            Those proceedings
                                                                  proceedings

involve extraordinary
involve extraordinary efficiencies—lost
                      efficiencies—lost forever to both
                                        forever to both parties
                                                        parties and
                                                                and the
                                                                    the courts if this
                                                                        courts if this

action is remanded.
action is           As the
          remanded. As the JPML previously recognized,
                           JPML previously recognized, consolidation
                                                       consolidation of the State
                                                                     of the State

Plaintiffs
Plaintiffs case with the
           case with the other
                         other cases
                               cases in the MDL
                                     in the MDL is
                                                is appropriate to avoid
                                                   appropriate to       “voluminous
                                                                  avoid "voluminous

and
and complex” discovery and
    complex" discovery and the
                           the potential
                               potential for
                                         for inconsistent
                                             inconsistent rulings, which uniquely
                                                          rulings, which uniquely

burdens Google
burdens        as the
        Google as the common
                      common defendant. In re:
                             defendant. In     Digital Advert.
                                           re: Digital Advert. Antitrust
                                                               Antitrust Litig.,
                                                                         Litig.,

555 F. Supp.
555 F.       3d at
       Supp. 3d at 1378.
                   1378.

      The requested stay
      The requested stay will
                         will maintain
                              maintain access
                                       access to
                                              to those
                                                 those efficiencies.
                                                       efficiencies. Google will not
                                                                     Google will not

be able
be able to
        to recoup
           recoup the
                  the loss
                      loss of
                           of coordinated discovery or
                              coordinated discovery    the duplicated
                                                    or the duplicated efforts that will
                                                                      efforts that will

arise absent writ
arise absent writ relief.
                  relief. Inconsistent
                          Inconsistent rulings are also
                                       rulings are      more likely
                                                   also more likely absent relief, and
                                                                    absent relief, and

those harms
those harms cannot be recompensed.
            cannot be              Thus, unlike
                      recompensed. Thus, unlike aa mere
                                                   mere increase in costs,
                                                        increase in        which aa
                                                                    costs, which

party can
party can frequently
          frequently recover,
                     recover, Google will be
                              Google will be forced to incur
                                             forced to incur vastly
                                                             vastly increased
                                                                    increased

burdens, litigating
burdens, litigating on
                    on multiple
                       multiple fronts with no
                                fronts with no way
                                               way to
                                                   to recoup
                                                      recoup the
                                                             the efficiency
                                                                 efficiency of
                                                                            of

consolidated proceedings from
consolidated proceedings      this MDL.
                         from this MDL. Google thus faces
                                        Google thus       the risk
                                                    faces the risk of
                                                                   of being
                                                                      being

“deprived of
"deprived of any
             any right to relief
                 right to relief regardless
                                 regardless of the appeal's
                                            of the appeal’s outcome.” Jock v.
                                                            outcome." Jock    Sterling
                                                                           v. Sterling


                                           18
                                           18
           Case 23-910, Document 52, 08/08/2023, 3553512, Page26 of 31




Jewelers, Inc.,
Jewelers, Inc., 738 F. Supp.
                738 F.       2d 445,
                       Supp. 2d 445, 448
                                     448 (S.D.N.Y.
                                         (S.D.N.Y. 2010)
                                                   2010) (staying
                                                         (staying effect of order
                                                                  effect of order

pending appeal).
pending appeal).

      C.
      C.     The
             The State
                 State Plaintiffs Will Not
                       Plaintiffs Will Not Suffer Injury If
                                           Suffer Injury    A Stay
                                                         If A      Is Issued.
                                                              Stay Is Issued.

      State
      State Plaintiffs will not
            Plaintiffs will not face any injury
                                face any injury from
                                                from aa stay
                                                        stay or
                                                             or from
                                                                from continuing to
                                                                     continuing to

litigate before Judge
litigate before Judge Castel. Nor can
                      Castel. Nor     they seriously
                                  can they seriously claim
                                                     claim any.
                                                           any. The
                                                                The only
                                                                    only concerns
                                                                         concerns

raised in
raised in State
          State Plaintiffs’
                Plaintiffs' Remand
                            Remand Motion relate to
                                   Motion relate to the
                                                    the State
                                                        State of
                                                              of Texas’ preference for
                                                                 Texas' preference for

its home
its home forum,
         forum, and related efficiencies,
                and related               like travel
                            efficiencies, like travel costs, incurred by
                                                      costs, incurred by litigating
                                                                         litigating in
                                                                                    in

New York.
New York. But
          But as
              as the
                 the JPML
                     JPML explained in its
                          explained in its initial transfer order,
                                           initial transfer        these efficiencies
                                                            order, these efficiencies

are better served
are better served by
                  by keeping the State
                     keeping the       Plaintiffs before
                                 State Plaintiffs before Judge Castel. See
                                                         Judge Castel. See In
                                                                           In re:
                                                                              re:

Digital Advert.
Digital Advert. Antitrust
                Antitrust Litig.,
                          Litig., 555 F. Supp.
                                  555 F.       3d. at
                                         Supp. 3d. at 1378.
                                                      1378.

      Even
      Even if the State
           if the State Plaintiffs were somehow
                        Plaintiffs were somehow harmed
                                                harmed by
                                                       by aa stay,
                                                             stay, that
                                                                   that harm
                                                                        harm would
                                                                             would

be greatly
be greatly minimized
           minimized by
                     by the
                        the likelihood
                            likelihood that
                                       that Google’s requested stay
                                            Google's requested stay will
                                                                    will be
                                                                         be very
                                                                            very

brief, and
brief, and the
           the certainty that State
               certainty that State Plaintiffs’
                                    Plaintiffs' case will continue
                                                case will          to progress
                                                          continue to progress during
                                                                               during the
                                                                                      the

stay. This
stay. This Court
           Court is
                 is likely to resolve
                    likely to resolve Google’s mandamus petition
                                      Google's mandamus petition in
                                                                 in short
                                                                    short order
                                                                          order

because mandamus
because mandamus proceedings
                 proceedings enjoy “preference over
                             enjoy "preference over ordinary
                                                    ordinary civil
                                                             civil cases.” Fed.
                                                                   cases." Fed.

R. App. P.
R. App.    21(b)(6). The
        P. 21(b)(6). The mandamus
                         mandamus petition
                                  petition is
                                           is ready
                                              ready to
                                                    to be
                                                       be decided.
                                                          decided. And
                                                                   And litigation
                                                                       litigation

can,
can, and will, move
     and will, move forward in the
                    forward in the Southern
                                   Southern District
                                            District of New York,
                                                     of New York, where
                                                                  where discovery
                                                                        discovery

is ongoing.
is ongoing. Thus,
            Thus, if
                  if aa stay
                        stay is
                             is granted,
                                granted, State
                                         State Plaintiffs will continue
                                               Plaintiffs will          to benefit
                                                               continue to benefit from
                                                                                   from

the coordinated
the coordinated proceedings
                proceedings in
                            in New
                               New York
                                   York pending
                                        pending this
                                                this Court’s resolution of
                                                     Court's resolution of

Google’s mandamus petition.
Google's mandamus petition. If
                            If this
                               this Court ultimately grants
                                    Court ultimately grants mandamus
                                                            mandamus relief
                                                                     relief and
                                                                            and



                                           19
                                           19
              Case 23-910, Document 52, 08/08/2023, 3553512, Page27 of 31




the case
the      remains in
    case remains in the
                    the Southern District of
                        Southern District    New York,
                                          of New York, aa stay
                                                          stay will
                                                               will not
                                                                    not harm
                                                                        harm State
                                                                             State

Plaintiffs. And even
Plaintiffs. And      if this
                even if this Court ultimately denies
                             Court ultimately        mandamus relief
                                              denies mandamus relief and the case
                                                                     and the case is
                                                                                  is

sent to
sent to the
        the Eastern District of
            Eastern District    Texas, aa stay
                             of Texas,    stay will
                                               will not
                                                    not harm
                                                        harm State
                                                             State Plaintiffs given that
                                                                   Plaintiffs given that

they may
they may proceed
         proceed with
                 with discovery
                      discovery in
                                in the
                                   the meantime.
                                       meantime.

         D.
         D.     The
                The Public Interest Favors
                    Public Interest        A Stay.
                                    Favors A Stay.

         The public interest
         The public interest also supports granting
                             also supports granting Google’s stay request
                                                    Google's stay         because the
                                                                  request because the

proposed stay
proposed stay would
              would avoid
                    avoid potentially
                          potentially duplicative
                                      duplicative litigation, thereby conserving
                                                  litigation, thereby conserving

judicial resources.
judicial resources. See
                    See In
                        In re
                           re Gorsoan Ltd., No.
                              Gorsoan Ltd., No. 18-MC-431
                                                18-MC-431 (RA)
                                                          (RA) (KNF),
                                                               (KNF), 2020
                                                                      2020 WL
                                                                           WL

4194822, at
4194822, at *8 (S.D.N.Y. July
            *8 (S.D.N.Y.      21, 2020).
                         July 21, 2020). Indeed,
                                         Indeed, the
                                                 the JPML previously identified
                                                     JPML previously identified

the various
the various benefits
            benefits that
                     that would
                          would result
                                result from
                                       from centralizing the related
                                            centralizing the related actions in the
                                                                     actions in the

MDL,
MDL, including the elimination
     including the elimination of
                               of duplicative discovery and
                                  duplicative discovery     avoiding the
                                                        and avoiding the risk
                                                                         risk of
                                                                              of

inconsistent judgments.
inconsistent judgments. See
                        See In
                            In re: Digital Advert.
                               re: Digital Advert. Antitrust
                                                   Antitrust Litig.,
                                                             Litig., 555
                                                                     555 F.
                                                                         F. Supp. 3d
                                                                            Supp. 3d

at 1375.
at 1375. The
         The JPML’s recent remand
             JPML's recent remand order
                                  order found that remand
                                        found that remand was
                                                          was required
                                                              required based
                                                                       based on
                                                                             on

the Panel’s
the         reading of
    Panel's reading of Section 1407(g), and
                       Section 1407(g),     did not
                                        and did not suggest
                                                    suggest that
                                                            that any
                                                                 any of the benefits
                                                                     of the benefits

of centralized litigation
of centralized litigation had
                          had been
                              been exhausted. See Remand
                                   exhausted. See Remand Order
                                                         Order 3.
                                                               3.

   II.
   II.        THIS COURT SHOULD
              THIS COURT SHOULD GRANT  AN IMMEDIATE
                                 GRANT AN IMMEDIATE
              ADMINISTRATIVE STAY
              ADMINISTRATIVE  STAY PENDING
                                   PENDING THIS COURT’S
                                           THIS COURT'S
              RESOLUTION  OF GOOGLE’S
              RESOLUTION OF  GOOGLE'S STAY MOTION.
                                      STAY MOTION.

         Google also respectfully
         Google also respectfully requests that this
                                  requests that this Court
                                                     Court grant an administrative
                                                           grant an administrative stay
                                                                                   stay

to give
to give the
        the Court
            Court time
                  time to
                       to address
                          address Google’s stay motion
                                  Google's stay motion before
                                                       before the
                                                              the stay
                                                                  stay entered below
                                                                       entered below

expires.
expires.      This Court
              This       regularly grants
                   Court regularly grants "an
                                          “an administrative
                                              administrative stay"
                                                             stay” in
                                                                   in comparable
                                                                      comparable



                                           20
                                           20
           Case 23-910, Document 52, 08/08/2023, 3553512, Page28 of 31




circumstances so that
circumstances so that aa "motion
                         “motion for
                                 for aa stay
                                        stay pending
                                             pending appeal
                                                     appeal could be considered
                                                            could be            by aa
                                                                     considered by

three-judge
three       panel.” Hassoun
      judge panel." Hassoun v.
                            v. Searls,
                               Searls, 976
                                       976 F.3d
                                           F.3d 121,
                                                121, 126
                                                     126 (2d
                                                         (2d Cir.
                                                             Cir. 2020);
                                                                  2020); accord
                                                                         accord

Bragg v.
Bragg    Pomerantz, No.
      v. Pomerantz, No. 23-615-L,
                        23-615-L, 2023
                                  2023 WL
                                       WL 3015207,
                                          3015207, at
                                                   at *1
                                                      *1 (2d
                                                         (2d Cir. Apr. 19,
                                                             Cir. Apr. 19,

2023); Johnson
2023); Johnson as
               as Tr. of Johnson
                  Tr. of Johnson Fam.
                                 Fam. Tr.,
                                      Tr., Templeton
                                           Templeton Glob. Income Fund
                                                     Glob. Income Fund v. Saba
                                                                       v. Saba

Cap. Mgmt., L.P.,
Cap. Mgmt., L.P., No.
                  No. 23-134,
                      23-134, 2023
                              2023 WL
                                   WL 3196206,
                                      3196206, at
                                               at *1 (2d Cir.
                                                  *1 (2d Cir. Feb.
                                                              Feb. 14,
                                                                   14, 2023).
                                                                       2023).

The Court should
The Court should follow the same
                 follow the same approach here.
                                 approach here.              Because the
                                                             Because the JPML’s
                                                                         JPML's

administrative stay expires
administrative stay expires on
                            on Thursday, August 10,
                               Thursday, August 10, Google respectfully requests
                                                    Google respectfully requests

that the
that the Court
         Court enter an administrative
               enter an                stay by
                        administrative stay by 5:00
                                               5:00 p.m.
                                                    p.m. on Wednesday, August
                                                         on Wednesday, August 9.
                                                                              9.

                                 CONCLUSION
                                 CONCLUSION

      For the
      For the foregoing
              foregoing reasons, this Court
                        reasons, this       should enter
                                      Court should       an order
                                                   enter an       staying the
                                                            order staying the JPML’s
                                                                              JPML's

Remand
Remand Order.
       Order. In the meantime,
              In the meantime, the
                               the Court
                                   Court should
                                         should enter
                                                enter an administrative stay
                                                      an administrative stay to
                                                                             to

give the
give the Court
         Court time
               time to
                    to consider this motion.
                       consider this motion.




                                         21
                                         21
          Case 23-910, Document 52, 08/08/2023, 3553512, Page29 of 31




August 8,
August 8, 2023
          2023                      Respectfully submitted,
                                    Respectfully submitted,

                                    /s/ Neal Kumar
                                    /s/ Neal Kumar Katyal
                                                     Katyal
                                    Neal Kumar
                                    Neal  Kumar Katyal
                                                  Katyal
                                    Jessica
                                    Jessica L.
                                            L. Ellsworth
                                                Ellsworth
                                    Jo-Ann
                                    Jo-Ann Tamila
                                             Tamila Sagar
                                                     Sagar
                                    William E.
                                    William   E. Havemann
                                                 Havemann
                                    HOGAN LOVELLS
                                    HOGAN      LOVELLS US  US LLP
                                                               LLP
                                    555 Thirteenth
                                    555  Thirteenth Street,  N.W.
                                                     Street, N.W.
                                    Washington, D.C.
                                    Washington,    D.C. 20004
                                                        20004
                                    (202) 637-5600
                                    (202) 637-5600
                                    (202) 637-5910
                                    (202) 637-5910 (Fax)
                                                      (Fax)
                                    neal.katyal@hoganlovells.com
                                    neal.katyal@hoganlovells.com
                                    jessica.ellsworth@hoganlovells.com
                                    jessica.ellsworth@hoganlovells.com

                                    Eric
                                    Eric Mahr
                                         Mahr
                                    Andrew J.
                                    Andrew      Ewalt
                                             J. Ewalt
                                    FRESHFIELDS BRUCKHAUS
                                    FRESHFIELDS       BRUCKHAUS
                                    DERINGER LLP
                                    DERINGER      LLP
                                    700  13th Street
                                    700 13th         NW, 10th
                                              Street NW,  10th Floor
                                                               Floor
                                    Washington, D.C.
                                    Washington,   D.C. 20005
                                                       20005
                                    (202) 777-4500
                                    (202) 777-4500
                                    (202) 777-4555
                                    (202)            (Fax)
                                          777-4555 (Fax)
                                    eric.mahr@freshfields.com
                                    eric.mahr@freshfields.com
                                    andrew.ewalt@freshfields.com
                                    andrew.ewalt@freshfields.com

                                    Counsel for Petitioner
                                    Counselfor  Petitioner Google LLC
                                                           Google LLC




                                      22
                                      22
           Case 23-910, Document 52, 08/08/2023, 3553512, Page30 of 31




                      CERTIFICATE
                      CERTIFICATE OF
                                  OF COMPLIANCE
                                     COMPLIANCE

      1.
      1.    This document
            This document complies with the
                          complies with the type-volume
                                            type-volume limits
                                                        limits of Fed. R.
                                                               of Fed.    App. P.
                                                                       R. App. P.

27(d)(2) because,
27(d)(2) because, excluding the parts
                  excluding the parts of the document
                                      of the document exempted by Fed.
                                                      exempted by Fed. R. App. P.
                                                                       R. App. P.

32(f), this
32(f), this document
            document contains
                     contains 5,090 words.
                              5,090 words.

      2.
      2.    This document
            This document complies with the
                          complies with the typeface
                                            typeface requirements
                                                     requirements of Fed. R.
                                                                  of Fed.    App.
                                                                          R. App.

P. 32(a)(5) and
P. 32(a)(5)     the type-style
            and the type-style requirements
                               requirements of Fed. R.
                                            of Fed.    App. P.
                                                    R. App.    32(a)(6) because
                                                            P. 32(a)(6) because this
                                                                                this

document has
document has been
             been prepared
                  prepared in
                           in aa proportionally
                                 proportionally spaced
                                                spaced typeface
                                                       typeface using
                                                                using Microsoft
                                                                      Microsoft

Word 2010
Word 2010 in
          in 14-point
             14-point Times
                      Times New
                            New Roman.
                                Roman.

                                             /s/ Neal Kumar
                                             /s/ Neal Kumar Katyal
                                                            Katyal
                                             Neal Kumar
                                             Neal  Kumar Katyal
                                                         Katyal
             Case 23-910, Document 52, 08/08/2023, 3553512, Page31 of 31




                            CERTIFICATE OF
                            CERTIFICATE OF SERVICE
                                           SERVICE

         II certify that on
            certify that    August 8,
                         on August    2023, the
                                   8, 2023, the foregoing was electronically
                                                foregoing was electronically filed through
                                                                             filed through

this Court's
this Court’s CM/ECF
             CM/ECF system,
                    system, which
                            which will
                                  will send
                                       send aa notice
                                               notice of
                                                      of filing to all
                                                         filing to all registered
                                                                       registered

users.
users.

                                          /s/ Neal Kumar
                                          /s/ Neal Kumar Katyal
                                                         Katyal
                                          Neal Kumar
                                          Neal  Kumar Katyal
                                                      Katyal
